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                                                                     2021 Sep-03 PM 05:45
                                                                     U.S. DISTRICT COURT
                                                                         N.D. OF ALABAMA




        EXHIBIT Q
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     In re: Blue Cross Blue Shield Antitrust Litigation (MDL No. 2406)
     USDC Northern District of Alabama, Master File No. 2:13-CV-20000-RDP

     Valid Exclusion Requests


                                 Business/Last Name                                First Name              City       State/Country
 1   84.51, LLC HEALTH & WELFARE PLAN                                                           CINCINNATI          OH
 2   AARON                                                                  JULIE               CARMICHAEL          CA
 3   ABDULLAH II                                                            ASAD                SCHENECTADY         NY
 4   ABELL                                                                  TERESA              SEYMOUR             IN
 5   ABIGO                                                                  HELEN               HOUSTON             TX
 6   ABRAHAMS                                                               JAMMIE              SAFFORD             AL
 7   ABRAHAMS                                                               JOHN                UNIONTOWN           AL
 8   ABRAHAMS                                                               WALTER              SAFFORD             AL
 9   ABUSAIDI                                                               MARYAM              MONTEREY            CA
10   ACKERMAN                                                               KERRY               SPEARVILLE          KS
11   ACKERMAN                                                               STEPHEN             SPEARVILLE          KS
12   ACME MARKETS                                                                               BOISE               ID
13   ADAMES PEREZ                                                           CARMEN              CAMUY               PR
14   ADAMS                                                                  AMY                 NORFOLK             VA
15   ADAMS                                                                  DIANE               APPLETON            WI
16   ADAMS                                                                  LINDA               VINITA              OK
17   ADDISON                                                                JAMES               EDINBURGH           UNITED KINGDOM
18   ADKINS                                                                 DANIEL              HUNTINGTON          WV
19   ADKINS                                                                 JUDY                SCOTTSBORO          AL
20   ADMONT                                                                 KASEY               APO                 AP
21   ADVANI                                                                 SUBHAS              CHICAGO             IL
22   AGUIRRE                                                                AUSTIN              DALLAS              TX
23   AGUIRRE                                                                JAVIER              SAN ANTONIO         TX
24   AHLMAN                                                                 ERIC                GILBERT             AZ
25   AHN                                                                    HYE EUN             LONG BEACH          CA
26   AKINDO                                                                 SANDRINE            HYATTSVILLE         MD
27   ALASKA AIR GROUP, INC.                                                                     SEATAC              WA
28   ALASKA AIR GROUP, INC. WELFARE BENEFIT PLAN                                                SEATAC              WA
29   ALASKA AIRLINES, INC.                                                                      SEATAC              WA
30   ALASKA AIRLINES, INC. WELFARE BENEFIT PLAN                                                 SEATAC              WA
31   ALBERT                                                                 JOEL                TEXARKANA           TX
32   ALBERTSONS                                                                                 BOISE               ID
33   ALBERTSONS COMPANIES INC.                                                                  BOISE               ID
34   ALBERTSONS COMPANIES LLC                                                                   BOISE               ID
35   ALBERTSONS COMPANIES, INC. HEALTH AND WELFARE PLAN (F/K/A                                  BOISE               ID
     ALBERTSON'S LLC HEALTH & WELFARE PLAN AND NEW ALBERTSON'S INC.
     HEALTH AND WELFARE PLAN)
36   ALBERTSONS LLC                                                                             BOISE               ID
37   ALBERTSON'S, INC.                                                                          BOISE               ID
38   ALCORDO                                                                RENITA              SAN FRANCISCO       CA
39   ALFONSI                                                                SCOTT               BELLVILLE           OH
40   ALLEN                                                                  ARLENE              CLARK               NJ
41   ALLEN                                                                  MARCIA              HUTCHINSON          KS
42   ALLEN                                                                  RHONDA              COLUMBIA            TN
43   ALLEN                                                                  SARAH               SILVER SPRING       MD
44   ALLENBAUGH                                                             WILLIAM             ONTARIO             CA
45   ALVARADO HOSPITAL LLC                                                                      SAN DIEGO           CA
46   AMERICAN AIRLINES                                                                          DALLAS FORT WORTH   TX
47   AMERICAN DRUG STORES COMPANY                                                               BOISE               ID
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                            Business/Last Name                              First Name              City    State/Country
 48 AMERICAN ELECTRIC POWER SERVICE CORPORATION AND AMERICAN ELECTRIC                    COLUMBUS          OH
    POWER SYSTEM COMPREHENSIVE MEDICAL PLAN
 49 AMERICAN STORES COMPANY                                                              BOISE             ID
 50 AMINI                                                               MEAGHAN          AUSTIN            TX
 51 AMINI                                                               NEEMA            AUSTIN            TX
 52 AMOS                                                                LINDA            BLUEFIELD         WV
 53 AMOS-JACKSON                                                        ERNEST           SANTA CRUZ        CA
 54 ANAND                                                               NEIL             BENSALEM          PA
 55 ANAND MEDICAL INVESTMENT LLC                                                         BENSALEM          PA
 56 ANDERSEN                                                            MARK             SANTA MARIA       CA
 57 ANDERSON                                                            CLAUDIA          LOGANVILLE        GA
 58 ANDERSON                                                            EDGAR            SACRAMENTO        CA
 59 ANDERSON                                                            FRANCESCA        WOODINVILLE       WA
 60 ANDERSON                                                            GILBERT          HERMITAGE         PA
 61 ANDERSON                                                            JOHN             CANTON            MA
 62 ANDERSON                                                            MARILYN          DULUTH            MN
 63 ANDERSON                                                            RONALD           CORBIN            KY
 64 ANDERSON                                                            ROSEMARIE        CANTON            MA
 65 ANDERSON                                                            SHARON           CORBIN            KY
 66 ANDERSON JR.                                                        GILBERT          AKRON             OH
 67 ANDREWS                                                             DANA             SODUS POINT       NY
 68 ANDRIES                                                             MARIA            DENVER            CO
 69 ANELLO                                                              GABRIEL          CHICAGO           IL
 70 ANGEL                                                               DAVID            PLACENTIA         CA
 71 ANGEL                                                               JOSEPH           PLACENTIA         CA
 72 ANKENEY                                                             JOHN             FOREST            VA
 73 ANSALDI                                                             FREDERIC         SIMI VALLEY       CA
 74 ARABIAN                                                             ROBERT           SIMI VALLEY       CA
 75 ARCHER                                                              MARILYN          PENDLETON         OR
 76 ARCHER                                                              ROBERT           PENDLETON         OR
 77 ARGO                                                                JANICE           UNIVERSITY PL     WA
 78 ARK PHARMACIES INC                                                                   NACOGDOCHES       TX
 79 ARMSTRONG                                                           RONALD           PINSON            AL
 80 ASATO                                                               CAROLE           YORBA LINDA       CA
 81 ASHCROFT                                                            JAMES            HOMER GLEN        IL
 82 ASHMORE                                                             HAZEL            GLENCOE           AL
 83 ASPING                                                              LARRY            SIDNEY            NY
 84 ATKINS                                                              JOSEPH           ELK GROVE         CA
 85 ATLANTIC HEALTH CARE LLC                                                             BENSALEM          PA
 86 ATWOOD                                                              JUSTIN           GLEN FLORA        WI
 87 ATZIN                                                               LACY             CHULA VISTA       CA
 88 AUGUSTINE                                                           PATRICIA         MT PLEASANT       PA
 89 AUSTIN                                                              DEBORAH          ENTERPRISE        AL
 90 AUSTIN MACHINE COMPANY                                                               O FALLON          MO
 91 AVENANCIO                                                           ISAILYS          ORLANDO           FL
 92 AYER                                                                ZACHARY          AUSTIN            TX
 93 AYERS                                                               RUSSELL          DELTA             CO
 94 AYGAR                                                               GOKBORU          NILES             IL
 95 BABIN                                                               MARK             CHALMETTE         LA
 96 BAHAMONDE                                                           JOSE             SURFSIDE          FL
 97 BAILEY                                                              ANN              DALLAS            TX
 98 BAILEY                                                              THERESA          NEW YORK          NY
 99 BAIN                                                                MICHELLE         WATERFORD         MI
100 BAKER                                                               FRED             STREATOR          IL
101 BAKER                                                               MARY             PHILLIPSBURG      NJ
102 BAKER                                                               RICHARD          MIDDLETOWN        OH
103 BAKER                                                               THOMAS           LEWISVILLE        NC
104 BAKER'S                                                                              CINCINNATI        OH
105 BALAKRISHNAN                                                        ARUNPRAKASH      SAMMAMISH         WA
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                                 Business/Last Name        First Name               City     State/Country
106   BALDWIN                                          BONNIE           MINNEOLA            FL
107   BALDWIN                                          ERIN             OLYMPIA             WA
108   BALL                                             JENNA            NEW LONDON          WI
109   BALLARD                                          JAMES            LOS ANGELES         CA
110   BANAK                                            RAYMOND          ELK GROVE VILLAGE   IL
111   BANAK                                            WENDY            ELK GROVE VILLAGE   IL
112   BANKS                                            BRITTNEY         UNIONTOWN           AL
113   BANKS                                            SANDRA           COLUMBUS            OH
114   BARBARA                                          LINDA            WINONA              TX
115   BARBER                                           JULIE            FOREST CITY         IA
116   BARBIE                                           CHRISTOPHER      HENRICO             VA
117   BARESIC                                          IGOR             COLUMBIA            MO
118   BARNES                                           DONALD           GLEN CARBON         IL
119   BARNES                                           SHARON           GLEN CARBON         IL
120   BARNETT                                          DALE             DECATUR             IL
121   BARTELT                                          ROY              MULBERRY            FL
122   BARTH                                            DAVID            FORT PIERCE         FL
123   BARTH                                            PHILIP           SNYDER              NY
124   BARTH IV                                         PHILIP           BUFFALO             NY
125   BARTNETT                                         SCOTT            SNEADS FERRY        NC
126   BARTOLAC                                         AMY-GABRIELLE    IRWIN               PA
127   BASSETTI                                         CAROLE           BROOKLYN            NY
128   BATES                                            AMY              CROSBY              TX
129   BATES                                            ROY              CROSBY              TX
130   BAUER                                            CAEDEN           MAGNA               UT
131   BAUGHMAN                                         LYNDA            SNYDER              CO
132   BAUMGARDNER                                      JAMES            MAUMELLE            AR
133   BAYLARD                                          BARBARA          SANTA ROSA          CA
134   BAZZELL                                          ROBERT           BRIGHTON            MI
135   BEAM                                             DEAN             PIERCE              ID
136   BEAVER                                           COLETTE          FALLING WATERS      WV
137   BECKER                                           ANGIE            JANESVILLE          MN
138   BECKERT                                          FREDERICK        BAYONNE             NJ
139   BEGUM                                            FAREENA          FREMONT             CA
140   BEHNFELDT                                        CRAIG            FORT WAYNE          IN
141   BEHNING                                          KELLY            SUN CITY CENTER     FL
142   BELFI                                            MARY             BRUNSWICK           OH
143   BELL                                             KENNETH          WEST PLAINS         MO
144   BELL                                             SHARON           DUPONT              WA
145   BELLES                                           AMANDA           MALDEN              MA
146   BELTRAN                                          DANNY            ORLANDO             FL
147   BERENY                                           LAURIE           LOS ANGELES         CA
148   BERGADO                                          MANUEL           SACRAMENTO          CA
149   BERGER                                           VICKIE           SOUTH BEND          IN
150   BERKERY                                          EDITH            STATESVILLE         NC
151   BERKOVITZ                                        JOYCE            PALOS PARK          IL
152   BERNAL                                           CARLOS           CORONA              NY
153   BERNSTEIN                                        SCOT             EL DORADO HILLS     CA
154   BERNTH                                           ARENDSE          OSSINING            NY
155   BETTER BILT PRODUCTS INC                                          ADDISON             IL
156   BETTS                                            DIANA            FROSTPROOF          FL
157   BEVINS                                           SHEILA           PARIS               KY
158   BICKERS                                          BARBARA          NORTHBROOK          IL
159   BIG LOTS, INC.                                                    COLUMBUS            OH
160   BIO-MED SERVICES, INC.                                            ONTARIO             CA
161   BIRRELL                                          SANDRA           BOZEMAN             MT
162   BIRRELL                                          STEVEN           BOZEMAN             MT
163   BIXENMAN                                         TINA             CROWN POINT         IN
164   BJELLAND                                         GAYLE            BEMIDJI             MN
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                              Business/Last Name                            First Name              City           State/Country
165   BLACKFORD                                                         AUTUMN           SPRINGBORO               OH
166   BLADES                                                            ZHANE            PUYALLUP                 WA
167   BLAKE                                                             NICHOLAS         MOKENA                   IL
168   BLAKELY                                                           LLOYD            COTTAGE GROVE            OR
169   BLANCHETTE                                                        DENISE           SOUTH HADLEY             MA
170   BLANCHETTE                                                        DIANNE           SOUTH HADLEY             MA
171   BLANKENSHIP                                                       JERRY            ASHCAMP                  KY
172   BLASINGHAM                                                        SHELLY           RANCHO SANTA MARGARITA   CA
173   BOARD OF PENSIONS OF THE EVANGELICAL LUTHERAN CHURCH IN AMERICA                    MINNEAPOLIS              MN
      D/B/A PORTICO BENEFIT SERVICES
174   BOCCUZZI                                                          DIANE            NORWALK                  CT
175   BODDY                                                             RITA             EDMONDS                  WA
176   BOGOMAZ                                                           KATHRYN          SAN DIEGO                CA
177   BOGUES                                                            BRITTNEY         CHARLOTTE                NC
178   BOILINI                                                           COLETTE          SEATTLE                  WA
179   BOJORQUEZ                                                         SANDY            BEALETON                 VA
180   BOLLA                                                             CHRISTOPHER      PITTSBURGH               PA
181   BONIARDI                                                          FEDERICO         MOUNTAIN VIEW            CA
182   BONICATTO                                                         ELIZABETH        FONTANA                  CA
183   BOOHER                                                            WILLIAM          SAINT PETERS             MO
184   BOOKER                                                            CLAY             FREDERICKSBURG           TX
185   BOOKER                                                            JANE             FREDERICKSBURG           TX
186   BOONE                                                             JANICE           ARP                      TX
187   BOOS                                                              MICHAEL          RAPID CITY               SD
188   BOOTS                                                             BRENDA           HAZEN                    ND
189   BOROWSKY                                                          FRANCES          PHILADELPHIA             PA
190   BORYSZEWSKI                                                       EDWARD           MIDDLEPORT               NY
191   BOSHER                                                            STEPHEN          WEATHERFORD              TX
192   BOSWELL                                                           LINDA            BIRMINGHAM               AL
193   BOTHELIO                                                          TERRI            PARADISE                 CA
194   BOULOGNE                                                          NADIA            OKEECHOBEE               FL
195   BOURQUE                                                           AIMEE            BELGRADE                 MT
196   BOYCE                                                             ANNA             CHARLOTTE                NC
197   BRACH                                                             MICHAEL          HURST                    TX
198   BRANDT                                                            JASON            BURBANK                  CA
199   BREILAND                                                          WILMA            NORTH ANDOVER            MA
200   BRELAND                                                           COLBY            SAINT LOUIS              MO
201   BRELAND                                                           JONATHAN         SAINT LOUIS              MO
202   BRELAND                                                           RACHEL           SAINT LOUIS              MO
203   BRENGARD                                                          JOYCE            WITT                     IL
204   BREST                                                             BARBARA          E FALMOUTH               MA
205   BREY                                                              ERIC             MCCORDSVILLE             IN
206   BRIDGESTONE AMERICAS, INC.                                                         NASHVILLE                TN
207   BRIDGESTONE AMERICAS, INC. EMPLOYEE GROUP INSURANCE PLAN                           NASHVILLE                TN
208   BRIDGESTONE AMERICAS, INC. RETIREE MEDICAL PLAN                                    NASHVILLE                TN
209   BRIGHT                                                            BONNIE           RICEVILLE                TN
210   BRIONES                                                           KATHIANA         INDIAN LAND              SC
211   BRISCOE                                                           CHRISTINE        HOPEWELL JCT             NY
212   BROADFOOT                                                         EDITH            FLORENCE                 AL
213   BROCK                                                             LORAL            WAYNESVILLE              OH
214   BROOKS                                                            MARION           AUSTIN                   TX
215   BROOKS                                                            TESLA            SAN DIEGO                CA
216   BROUGHTON                                                         RANDALL          CHEYENNE                 WY
217   BROWN                                                             ALICIA           MT PLEASANT              TN
218   BROWN                                                             DEREK            SEATTLE                  WA
219   BROWN                                                             KIMBERLY         EVERGREEN PARK           IL
220   BROWN                                                             MARCELLA         SAVANNA                  IL
221   BROWN                                                             MICHELE          LITTLE FALLS             NY
222   BROWN                                                             WILLIAM          MT PLEASANT              TN
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                             Business/Last Name                            First Name              City      State/Country
223   BROWNRIGG                                                        RITA             MCCONNELSVILLE     OH
224   BRUDERLY                                                         JUDY             GAINESVILLE        FL
225   BRUNIN                                                           THOMASINA        MAPLE HILL         KS
226   BRYK                                                             CHRISTINE        MOREHEAD CITY      NC
227   BUCCELLA                                                         FRANCESCO        HUDSON             MA
228   BUCKHOUT                                                         DAVE             CLARKSTON          GA
229   BUCKLEY                                                          PAMELA           WAYNESBORO         PA
230   BUCKS COUNTY PAIN AND PERIOPERATIVE LLC                                           BENSALEM           PA
231   BUDDELL                                                          DOUGLAS          COVINGTON          LA
232   BUGG                                                             HAWLEY           CRESCENT           OK
233   BUJALSKI                                                         DENISE           CAMPTON            NH
234   BULLYAN                                                          RICHARD          CRYSTAL            MN
235   BURCHETT                                                         DEBRA            HOUSTON            MO
236   BURKE                                                            KATHARYN         GUNNISON           CO
237   BURLINGTON NORTHERN SANTA FE CORPORATION WELFARE BENEFIT TRUST                    FORT WORTH         TX
238   BURLINGTON NORTHERN SANTA FE GROUP BENEFITS PLAN                                  FORT WORTH         TX
239   BURLINGTON NORTHERN SANTA FE LLC (F/K/A BURLINGTON NORTHERN                       FORT WORTH         TX
      SANTA FE CORP.)
240   BURNES                                                           PATRICIA         SANTA ANA          CA
241   BURNS                                                            MARGARET         OCALA              FL
242   BURTON                                                           JOYCE            SMYRNA             GA
243   BUSBIN                                                           PATRICIA         CHARLOTTE          NC
244   BUSEFINK                                                         LORETTA          SAINT PETERSBURG   FL
245   BUSEFINK                                                         RAYMOND          SAINT PETERSBURG   FL
246   BUSH                                                             ANNE             NEWCOMB            NY
247   BUSH                                                             REBECCA          LAFAYETTE          LA
248   BUSH                                                             ZACHARY          LAFAYETTE          LA
249   BYRD                                                             BRENDA           SANTEE             CA
250   CABRERA                                                          CEDRIC           CAMARILLO          CA
251   CABRERA                                                          RAQUEL           EL PASO            TX
252   CADIENTE                                                         EILEEN           ANAHOLA            HI
253   CAFONE                                                           DENISE           WEST ORANGE        NJ
254   CAGLIERO                                                         LAURA            SEDONA             AZ
255   CALDWELL KUNTZ                                                   JUDITH           MONROE             OH
256   CALLIGEROS                                                       PETER            SAMSON             AL
257   CALLOWAY                                                         KAREN            LOWGAP             NC
258   CALVIN                                                           CHRISTINA        PROVIDENCE         RI
259   CAMPBELL                                                         WILHEMENA        DUNN               NC
260   CANAFAX                                                          EMILY            MOSS BEACH         CA
261   CAO                                                              QIAN             JINAN              CHINA
262   CAPELLA HEALTHCARE, INC.                                                          BRENTWOOD          TN
263   CARLSON                                                          GEOFFREY         COAL CITY          IL
264   CARRELL                                                          CARLOS           OLUSTEE            OK
265   CARR-GOTTSTEIN FOODS CO.                                                          BOISE              ID
266   CARRICO                                                          ZACHARY          GREENFLD CTR       NY
267   CARROLL                                                          RANDALL          TICONDEROGA        NY
268   CARSON                                                           GAYLANE          CHICAGO            IL
269   CASAREZ                                                          JOEL             DUNCANVILLE        TX
270   CASCINO                                                          MARY             CAYUCOS            CA
271   CASSADAY                                                         KEVIN            LANSING            MI
272   CASSIDY                                                          CYNTHIA          BOYNTON BEACH      FL
273   CAST                                                             LISA             NEW YORK           NY
274   CASTANEDA                                                        NICOLE           LAS VEGAS          NV
275   CASTORENA                                                        YESENIA          AUSTIN             TX
276   CASTRO                                                           JASON            HENDERSON          NV
277   CEHLAR                                                           JACKOLYN         VILLAS             NJ
278   CELLUCCI                                                         GEORGETTE        NEW HYDE PARK      NY
279   CENTRAL AVE PROFESSIONALS, P.C.                                                   NEWARK             NJ
280   CHAN                                                             ANDREW           SAN DIEGO          CA
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                              Business/Last Name                                 First Name              City      State/Country
281   CHAN                                                                REBECCA             SAN FRANCISCO      CA
282   CHANG                                                               JUN                 SEOUL              SOUTH KOREA
283   CHANG                                                               WUN                 SAN DIEGO          CA
284   CHARKALIS                                                           PARASKEVE           EFFORT             PA
285   CHARRON                                                             ADRIENNE            CARY               NC
286   CHEK                                                                WINGLOK             QUINCY             MA
287   CHENG                                                               JIM                 CHICAGO            IL
288   CHENNANKARA                                                         BERTY               MARLBOROUGH        MA
289   CHEN-WU                                                             GERARDO             CHULA VISTA        CA
290   CHICAGO PAINTERS AND DECORATORS WELFARE FUND                                            OAK BROOK          IL
291   CHILDERS                                                            DARREL              CORBIN             KY
292   CHILDERS                                                            JANO                CORBIN             KY
293   CHITAYAT                                                            LUCA                LOS ANGELES        CA
294   CHO                                                                 IL GYU              TUSCALOOSA         AL
295   CHRISTIAN BROTHERS SERVICES AND THE CHRISTIAN BROTHERS EMPLOYEE                         ROMEOVILLE         IL
      BENEFIT TRUST
296   CHS/COMMUNITY HEALTH SYSTEMS, INC.                                                      FRANKLIN           TN
297   CHURCH PENSION GROUP SERVICES CORPORATION                                               NEW YORK           NY
298   CITY HOSPITAL ASSOCIATION                                                               EAST LIVERPOOL     OH
299   CITY MARKET                                                                             CINCINNATI         OH
300   CLANCY                                                              PAMELA              LOUISVILLE         KY
301   CLARK                                                               ALEXIS              FARMINGTON HILLS   MI
302   CLARK                                                               EVA                 MIDDLEBURG         FL
303   CLAYTON                                                             JACK                SUGAR LAND         TX
304   CLEMONS                                                             PAUL                DALY CITY          CA
305   CLIFFORD                                                            ANNE                EAGLEVILLE         PA
306   CLOTHIER                                                            KATHLEEN            CORINTH            NY
307   CLOUSE                                                              KATHRYN             OLIVIA             MN
308   CNOTA                                                               ELIZABETH           RIVER FOREST       IL
309   COBO                                                                ANN                 AGUILAR            CO
310   COFER                                                               HERBERT             BEAUMONT           CA
311   COGGINS                                                             DENNIS              CULLOWHEE          NC
312   COHEN                                                               PHILIP              HOPKINTON          MA
313   COHEN IMACH                                                         ELEONORA            LOS ANGELES        CA
314   COLBECK                                                             MICHAEL             DECATUR            IL
315   COLBECK                                                             SHARON              DECATUR            IL
316   COLE                                                                SHARON              MIDDLEBURG         FL
317   COLECIO                                                             JOSEPH              ORLANDO            FL
318   COLEMAN                                                             JERE                DENVER             CO
319   COLLOTON                                                            JOHN                CORALVILLE         IA
320   COLON                                                               RITALIZ             BARRANQUITAS       PR
321   COLQUITT                                                            NATASHA             BALA CYNWYD        PA
322   COMBS                                                               DAVID               BOZEMAN            MT
323   COMMUNITY HEALTH SYSTEMS GROUP HEALTH PLAN                                              FRANKLIN           TN
324   CONAGRA BRANDS, INC. AND CONAGRA FOODS, INC. WELFARE BENEFIT WRAP                       CHICAGO            IL
      PLAN
325   CONANT                                                              ALEX                AUSTIN             TX
326   CONCORDIA PLAN SERVICES AND THE CONCORDIA HEALTH PLAN                                   ST. LOUIS          MO
327   CONFORTI                                                            GLORIA              DES PLAINES        IL
328   CONNER                                                              PAUL                SOUTH HILL         VA
329   COOK                                                                BERNADINE           QUINCY             IL
330   COOK                                                                CHARLES             NORFOLK            VA
331   COOLEY                                                              BRUCE               CRAWFORDVILLE      FL
332   COOPER                                                              JEANNETTE           HOMER              NY
333   COOPER                                                              RANDOLPH            HOMER              NY
334   COPPS FOOD CENTER                                                                       CINCINNATI         OH
335   CORCORAN                                                            SARA                WASHINGTON         DC
336   CORE                                                                RIDLEY              NASHVILLE          TN
337   CORE                                                                TERESA              NASHVILLE          TN
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                                 Business/Last Name         First Name               City        State/Country
338   CORRAL CAMBIASO                                   FELIPE            W LAFAYETTE           IN
339   COSGROVE                                          ANGELA            POMPANO BEACH         FL
340   COSGROVE                                          DONALD            POMPANO BEACH         FL
341   COSKEY                                            EVELYN            MIDDLETOWN            CT
342   COSTA                                             JOHN              WOODLAND              CA
343   COSTADINA                                         GLENN             KNOXVILLE             TN
344   COUTU                                             DANIEL            SALISBURY             NC
345   COUTU                                             TONDA             SALISBURY             NC
346   COVARRUBIAS                                       FELIPE            TURLOCK               CA
347   COVINGTON                                         CYNTHIA           BALTIMORE             MD
348   COVINGTON                                         DELGER            CEDAR HILL            TX
349   COVINGTON                                         JOSH              BESSEMER              AL
350   COX                                               EDITH             MONTGOMERY            AL
351   COX                                               MARY              TULAROSA              NM
352   COX                                               MYRNA             HOLTON                IN
353   COX                                               SANDRA            CHESAPEAKE            VA
354   COX                                               TROY              CHESAPEAKE            VA
355   COX                                               TRUDY             MOORE                 SC
356   COX                                               VESTA             EGG HBR TWP           NJ
357   CRAFTON                                           JEAN              STERLING HEIGHTS      MI
358   CRAKE                                             FRANCES           NORWALK               CT
359   CRANDALL                                          BARBARA           SAN JUAN CAPISTRANO   CA
360   CRANE                                             EUGENE            MONTGOMERY            AL
361   CRAWFORD                                          MARYANN           WESTFORD              MA
362   CRAWLEY                                           IRVIN             NEWPORT NEWS          VA
363   CREAL                                             OLGA              LINCOLN               NE
364   CREANEY                                           LORRAINE          ANTIOCH               IL
365   CREATIVE MARKETING ASSOCIATES                                       KANSAS CITY           MO
366   CREATIVE TELEMARKETING                                              KANSAS CITY           MO
367   CRIST                                             MACKENZIE         SAN FRANCISCO         CA
368   CROOK                                             ELIZABETH         TYLER                 TX
369   CROPSEY                                           CONNIE            CASPER                WY
370   CROSS                                             JEANINE           INDIANAPOLIS          IN
371   CUNNINGHAM                                        CALEB             DURANGO               CO
372   CURRIE                                            ESTATE OF JAMES   ANKENY                IA
373   CUTTING                                           JONATHAN          GRAND RAPIDS          MI
374   CZARSKI                                           CHARLES           LEXINGTON             KY
375   DALAL                                             HARSHA            LODI                  NJ
376   DALIRE                                            LINDA             KANEOHE               HI
377   DALLAS MEDICAL CENTER, LLC                                          DALLAS                TX
378   DALLAS MEDICAL PHYSICIAN GROUP                                      MESQUITE              TX
379   DANEY                                             RICHARD           EXCELSIOR             MN
380   DANNISON                                          TERRA             LAKELAND              FL
381   DARBY                                             JESSICA           WOODLAND PARK         CO
382   DASHNAW                                           MICHAEL           FORT EDWARD           NY
383   DAVE                                              BHAKTIBEN         NORTH CHESTERFIELD    VA
384   DAVIDSON                                          CINDY             PERHAM                MN
385   DAVIS                                             CLAUDIA           WATERTOWN             TN
386   DAVIS                                             TING              COLLIERVILLE          TN
387   DAVIS                                             WARNER            COLLIERVILLE          TN
388   DAWSON                                            JAMES             FRANKFORT             IN
389   DAWSON                                            KELSEY            FRANKFORT             IN
390   DAY                                               SANDRA            WILMINGTON            MA
391   DAY                                               STEPHEN           WILMINGTON            MA
392   DE PAUL VENTURES - SAN JOSE ASC, LLC                                DALY CITY             CA
393   DE PAUL VENTURES - SAN JOSE DIALYSIS, LLC                           DALY CITY             CA
394   DE PAUL VENTURES, LLC                                               DALY CITY             CA
395   DE STEFANO                                        EILEEN            DREXEL HILL           PA
396   DEAN                                              STEVE             TULSA                 OK
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                               Business/Last Name          First Name              City         State/Country
397   DEBLIECK                                         KATHLEEN         PLANT CITY             FL
398   DECKER                                           FLORINA          KANSAS CITY            MO
399   DEEM                                             LESLIE           COVINGTON              IN
400   DEETZ                                            GERALD           OWATONNA               MN
401   DEHART                                           AARON            NEW YORK               NY
402   DEHN                                             ANNE             BUFFALO                NY
403   DEHN                                             KENNETH          AMHERST                NY
404   DELOMAS                                          VICTOR           ALLEGAN                MI
405   DEMERS                                           MARIANNE         BROCKTON               MA
406   DEPENTO                                          JANICE           PHILADELPHIA           PA
407   DERMANOOGIAN                                     DEBRA            GOFFSTOWN              NH
408   DES ROCHES                                       GARY             NORWOOD                MA
409   DESAI                                            NEHAL            MOUNTAIN VIEW          CA
410   DESERT VALLEY HOSPITAL, INC.                                      VICTORVILLE            CA
411   DESERT VALLEY MEDICAL GROUP, INC.                                 VICTORVILLE            CA
412   DESPOSATO                                        SCOTT            VENTURA                CA
413   DETORE                                           KATHLEEN         RED BLUFF              CA
414   DEVERE                                           BRENT            AUSTIN                 TX
415   DEVILLING                                        EILEEN           LEECHBURG              PA
416   DIAS                                             LINDOLFO         GLENOLDEN              PA
417   DIAZ                                             CONNIE           SPOKANE                WA
418   DIAZ                                             MARIA            LAKE WORTH             FL
419   DICIURCIO                                        JOHN             KING OF PRUSSIA        PA
420   DICKINSON                                        CARY             HOFFMAN                IL
421   DICKS                                            BARBARA          JACKSONVILLE           FL
422   DICKSON                                          CAROLYN          CRESCENT               OK
423   DICKSON                                          LYNDSEY          HOUSTON                TX
424   DILLON                                                            CINCINNATI             OH
425   DILLON COMPANIES, INC.                                            CINCINNATI             OH
426   DIN                                              FATIMA           SEATTLE                WA
427   DINOVO                                           CATALINA         CLEARWATER             FL
428   DIRKS                                            BRIAN            EMELLE                 AL
429   DISPIGNA                                         LILLIAN          MARION                 MA
430   DOBMEIER                                         FRANCIS          BIRD ISLAND            MN
431   DOCK                                             MAURICE          INDIANAPOLIS           IN
432   DOLLAR GENERAL CORPORATION                                        GOODLETTSVLLE          TN
433   DOLLAR GENERAL HEALTH PLAN                                        GOODLETTSVILLE         TN
434   DOLLOSO                                          CHARMAIGNE       YONKERS                NY
435   DOMBROSKY                                        JOSHUA           PORT NECHES            TX
436   DOMINGUES                                        HEBER            BROOKLINE              MA
437   DOMINICK'S                                                        BOISE                  ID
438   DOMINICK'S FINER FOODS, LLC                                       BOISE                  ID
439   DONAHUE                                          KATLIN           CANTON                 NC
440   DONALD                                           MICHELE          BOONTON TOWNSHIP       NJ
441   DORRELL                                          JANET            LEES SUMMIT            MO
442   DORRELL                                          LARRY            LEES SUMMIT            MO
443   DOSEMAGEN                                        ANGELA           MYRTLE BEACH           SC
444   DOUGHERTY                                        DOROTHY          DUNDALK                MD
445   DOUGHERTY                                        PATRICK          DUNDALK                MD
446   DREIER                                           MARK             SACRAMENTO             CA
447   DRYDEN                                           WILLARD          KLAMATH FALLS          OR
448   DU                                               XUE              NEW BOSTON             TX
449   DUCKETT                                          MICHAEL          RICHARDSON             TX
450   DUDEK                                            MICHAEL          COLUMBIA CROSS ROADS   PA
451   DUGGER                                           NANCY            SAN ANTONIO            TX
452   DUGGER                                           RICHARD          SAN ANTONIO            TX
453   DUKE                                             JAIMEE           BOISE                  ID
454   DUKE                                             TIFFANY          LAFAYETTE              LA
455   DUKES                                            DEREK            LAKE CITY              FL
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456   DUNCAN                                                                JACKSON          PICKENS              SC
457   DUNCAN                                                                MARY             PICKENS              SC
458   DUNN                                                                  BENJAMIN         SAN ANTONIO          TX
459   DURICEK                                                               THERESA          FLORISSANT           MO
460   DUTSCHKE                                                              DEBORAH          PALMER               TX
461   DYE                                                                   MARIANNE         HOUSTON              TX
462   EAGAN                                                                 GLORIA           LISLE                IL
463   EAKER                                                                 JENNIFER         SHERRILL             NY
464   EAKER                                                                 SYLVIA           FLORENCE             AL
465   EAST VALLEY GLENDORA HOSPITAL, LLC                                                     GLENDORA             CA
466   EBEL                                                                  KAREN            CRESTON              WA
467   EBEL                                                                  ORDEAN           CRESTON              WA
468   ECK                                                                   JONATHAN         LYME                 NH
469   EDWARDS                                                               AUBREY           HOBBS                NM
470   EDWARDS                                                               JUNE             SAINT LOUIS          MO
471   EDWARDS                                                               MARGARET         HOBBS                NM
472   EFE                                                                   AYSE             SAN DIEGO            CA
473   EFE                                                                   SINASI           SAN DIEGO            CA
474   EICHELBERGER                                                          ADAM             NOBLESVILLE          IN
475   ELDER                                                                 GEORGE           MIDVILLE             GA
476   ELDERS                                                                REBECCA          WARD                 SC
477   ELLISON                                                               JANE             CULLMAN              AL
478   ELSTON                                                                ANTRYNET         PETERSBURG           VA
479   EMPLOYEE BENEFIT PLAN FOR EMPLOYEES OF HORIZON AIR INDUSTRIES, INC.                    SEATAC               WA
480   EMPLOYEE BENEFIT PLAN FOR FULL-TIME AND PART-TIME EMPLOYEES                            SEATAC               WA
      HORIZON AIR INDUSTRIES, INC.
481   ENAN                                                                  SADMAN           FALCON HEIGHTS       MN
482   ENNS                                                                  JAYNE            CHICO                CA
483   ENSOR                                                                 MICHAEL          CHATTANOOGA          TN
484   ERICKSON                                                              MARK             SUMNER               WA
485   ERICKSON                                                              SHARON           SUMNER               WA
486   ERKEL                                                                 ALBERT           GRANITE BAY          CA
487   ERKEL                                                                 DONNA            GRANITE BAY          CA
488   ESHELMAN                                                              GARY             BOONE                IA
489   ESPINOZA                                                              DANIEL           HANFORD              CA
490   ESTRADA                                                               HARRIETTE        MANTECA              CA
491   ETHIER                                                                GLEN             PORT TOWNSEND        WA
492   ETZLER                                                                HILBERT          VICTORIA             TX
493   EVANS                                                                 GAYLA            BLOOMFIELD           MO
494   EVANS                                                                 REGINA           ROME                 GA
495   EVERGREEN HOME HEALTH, INC.                                                            CERRITOS             CA
496   EVINGER                                                               KATHERINE        PENFIELD             NY
497   EXTREME VALUE                                                                          BOISE                ID
498   EXTREME VALUE CENTERS                                                                  BOISE                ID
499   EYRE                                                                  LEHTIE           OMAHA                NE
500   EZE                                                                   OLISAEMEKA       ROHNERT PARK         CA
501   FACHTING                                                              ARLINE           SAGINAW              MI
502   FADER                                                                 CLARA            ROGUE RIVER          OR
503   FAHLSTROM                                                             DEBRA            CONCORDIA            KS
504   FAMILIARE                                                             CHRISTOPHE       STANWOOD             WA
505   FARGNOLI                                                              JESSICA          PARAMUS              NJ
506   FARLANE                                                               VICKY            LANGLEY              WA
507   FARMER                                                                CYNTHIA          HOLLY SPRINGS        NC
508   FAROHIDEH                                                             BABAK            MIAMI                FL
509   FARRER                                                                JANICE           MESQUITE             NV
510   FARSTER                                                               JUDITH           DIXON                IL
511   FAVORITI                                                              DIANE            RAHWAY               NJ
512   FEBIGER                                                               MARIAN           N DARTMOUTH          MA
513   FEDERAL EXPRESS CORPORATION                                                            MEMPHIS              TN
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                              Business/Last Name                             First Name             City      State/Country
514   FEDERAL EXPRESS CORPORATION GROUP HEALTH PLAN                                       MEMPHIS            TN
515   FEDERAL EXPRESS CORPORATION GROUP HEALTH PLAN FOR PILOTS                            MEMPHIS            TN
516   FEDERAL EXPRESS CORPORATION GROUP RETIREE HEALTH PLAN FOR PILOTS                    MEMPHIS            TN
517   FEDEX CORPORATION                                                                   MEMPHIS            TN
518   FEDEX CORPORATION GROUP HEALTH PLAN                                                 MEMPHIS            TN
519   FEDEX CORPORATION RETIREE GROUP HEALTH PLAN                                         MEMPHIS            TN
520   FEHLNER                                                            ROSEMARY         PITTSBURGH         PA
521   FENWICK                                                            TAHNA            ALBANY             OR
522   FERRARI                                                            KENNETH          GOLD RIVER         CA
523   FIELDS                                                             DIANA            CHESTER            VA
524   FIELDS                                                             ELIZABETH        CHESTER            VA
525   FIGUEIRED                                                          JULIANA          LOS ANGELES        CA
526   FILAS                                                              TAMARA           CANTON             MI
527   FINK                                                               RONDA            HETTINGER          ND
528   FINK                                                               TODD             HETTINGER          ND
529   FITZPATRICK                                                        ANNE             ELMIRA             NY
530   FLAIR                                                              GEORGE           BEAVER             PA
531   FLATTER                                                            RALPH            CINCINNATI         OH
532   FLESHMAN                                                           HAZEL            ALDERSON           WV
533   FLIEGE                                                             SUZANNE          YPSILANTI          MI
534   FLINT                                                              CAROLYN          QUINCY             MI
535   FLORA                                                              DONALD           LAWRENCE           KS
536   FLOYD                                                              MARY             THE VILLAGES       FL
537   FLOYD                                                              MAURICE          THE VILLAGES       FL
538   FMJ, INC.                                                                           CINCINNATI         OH
539   FOLLMER                                                            MICHAEL          MIDDLETOWN         OH
540   FOLLMER                                                            PAMELA           MIDDLETOWN         OH
541   FONTENOT                                                           ROSE             CHURCH POINT       LA
542   FOOD 4 LESS                                                                         CINCINNATI         OH
543   FOOD 4 LESS HOLDINGS, INC.                                                          CINCINNATI         OH
544   FORD MOTOR COMPANY                                                                  DEARBORN           MI
545   FORMANEK                                                           CHARLES          TRENTON            NJ
546   FORTIER                                                            MARIE            LAS VEGAS          NV
547   FORTUNA                                                            NICOLE           NORTHBROOK         IL
548   FOSSE                                                              SHAROL           MONTGOMERY         AL
549   FOSTER                                                             CLYDIS           MADISON            AL
550   FOSTER                                                             LEISA            MOSES LAKE         WA
551   FRALEY                                                             JO               GORMAN             TX
552   FRANA                                                              DARLENE          CASA GRANDE        AZ
553   FRANCO                                                             REEKIE           OCEANSIDE          CA
554   FRAZIER                                                            KAY              MADISON            WI
555   FRED MEYER                                                                          CINCINNATI         OH
556   FRED MEYER JEWELERS, INC.                                                           CINCINNATI         OH
557   FRED MEYER STORES, INC.                                                             CINCINNATI         OH
558   FRED MEYER, INC.                                                                    CINCINNATI         OH
559   FREITAS                                                            FELICIA          SANTA CLARA        CA
560   FREUDBERG                                                          AUDREY           LOS ANGELES        CA
561   FREY                                                               FLORENCE         SAN FRANCISCO      CA
562   FRIEDMAN                                                           JULIA            MENOMONEE FALLS    WI
563   FRIESZ                                                             TRACY            WEST RICHLAND      WA
564   FROLUND                                                            MICHELE          BROOKLYN           NY
565   FRONTINO                                                           VINCENT          LITTLETON          CO
566   FRY'S                                                                               CINCINNATI         OH
567   FUERTES                                                            RAQUEL           SEBASTOPOL         CA
568   FULLER                                                             CAROL            MARIETTA           GA
569   FULLER                                                             WILLIAM          NORTH CHARLESTON   SC
570   FULMORE                                                            GARY             GOLDSBORO          NC
571   FUOCO                                                              JEAN             DEARBORN           MI
572   GALEK                                                              MARILYN          WETHERSFIELD       CT
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573   GALLEGOS                                         DEBORAH          WOODBRIDGE             VA
574   GALLOWAY                                         ALBERT           NEWTOWN                PA
575   GALLOWAY                                         MAGGIE           ODENVILLE              AL
576   GANZ                                             FRED             EVERGREEN PARK         IL
577   GARBUS                                           KERRI            WINCHESTER             MA
578   GARCIA                                           GEORGE           BUENA PARK             CA
579   GARCIA                                           NADIA            WALLA WALLA            WA
580   GARDNER                                          IRETA            ST GEORGE              UT
581   GARDNER                                          TERESA           SHAWNEE                OK
582   GARNIER                                          AUDREY           TRENTON                NJ
583   GARRISON                                         GRAHAM           BROOKINGS              OR
584   GARRISON                                         ROSEMARY         BROOKINGS              OR
585   GARZA                                            JESSICA          CANTON                 OH
586   GATES                                            MARVIN           MADISON HTS            MI
587   GAUSI                                            TEAWAN           CHARLOTTE              NC
588   GAY                                              MARY             CHASKA                 MN
589   GAYNOR                                           COLLEEN          HUNTLEY                IL
590   GAZAILLE                                         MARY             VINEYARD HAVEN         MA
591   GEHRING                                          STEVEN           MCPHERSON              KS
592   GEHRLING                                         PAUL             SEAFORD                NY
593   GEISERT                                          CATHERINE        EL PASO                TX
594   GEISERT                                          SCOTT            EL PASO                TX
595   GELER                                            CASSI            LARGO                  FL
596   GENTLES                                          KEVIN            TICONDEROGA            NY
597   GENUARDI'                                                         BOISE                  ID
598   GENUARDI'S FAMILY MARKETS LP                                      BOISE                  ID
599   GEORGE                                           DINETTE          SPRINGFIELD            IL
600   GEORGEOU                                         NICKY            MINEOLA                NY
601   GERBES                                                            CINCINNATI             OH
602   GIANNELLI                                        DAVID            EDISON                 NJ
603   GIBBONS                                          EDDIE            MOUNTAIN PARK          OK
604   GIBBS                                            ERICK            PORT ORANGE            FL
605   GIBBS-JOHNSON                                    ASHLEY           BELLE RIVE             IL
606   GIBLER                                           DOROTHY          BASIN                  WY
607   GIBLER                                           JOHN             BASIN                  WY
608   GIBSON                                           DONALD           ROSEVILLE              CA
609   GIBSON                                           MARJORIE         PITTSBURGH             PA
610   GIELOW                                           SHERRI           BOZEMAN                MT
611   GIESEKE                                          DANIEL           DEER PARK              TX
612   GIH-LUEKER                                       FRANCES          IRVINE                 CA
613   GILBERT                                          MELINDA          TRINIDAD               TX
614   GILBERT                                          MOLLY            MESA                   AZ
615   GILLEN                                           DANIEL           TOMS RIVER             NJ
616   GILLEN                                           LORRAINE         TOMS RIVER             NJ
617   GILLEY                                           LINDA            DORTON                 KY
618   GINDI-FOX                                        TREFINA          MELROSE                MA
619   GINOZA                                           HAZEL            AIEA                   HI
620   GINOZA                                           HENRY            AIEA                   HI
621   GINOZA                                           KURT             AIEA                   HI
622   GIROLAMO                                         ERIN             WHITESBORO             TX
623   GOBEN                                            FRED             AURORA                 IL
624   GOBLET                                           VALENTINE        IRVINE                 CA
625   GOLDEN                                           MARY             CHEYENNE               WY
626   GOLDSWORTHY                                      DENNIS           LAPEER                 MI
627   GOLDSWORTHY                                      PATRICIA         LAPEER                 MI
628   GOMBAR                                           RICHARD          WHITE RIVER JUNCTION   VT
629   GOMEZ                                            ROLANDO          BELLFLOWER             CA
630   GOMEZ                                            SANTIAGO         SUNNYVALE              CA
631   GONDER                                           JULIE            GREEN RIVER            WY
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632   GONET                                                               RYAN             CLEARWATER         FL
633   GONRING                                                             NORENE           LOMIRA             WI
634   GONZALES                                                            MARIA            HOUSTON            TX
635   GONZALEZ                                                            FERNANDO         WASHINGTON         DC
636   GONZALEZ                                                            IMMANUEL         SALINAS            CA
637   GONZALEZ                                                            MARIA            HOUSTON            TX
638   GOODSIGHT                                                           MARK             GATLINBURG         TN
639   GOODSON                                                             DENA             PARIS              TX
640   GOOLSBY                                                             ROBIN            LAKE HAVASU CITY   AZ
641   GORE                                                                MARIE            BEAVERTON          OR
642   GORMAN                                                              SUSAN            ALBUQUERQUE        NM
643   GORZANSKI                                                           LUDWIK           LINDENHURST        NY
644   GOSHORN                                                             ALICIA           MOUNTAIN GRV       MO
645   GRACE                                                               GRETCHEN         PEARLAND           TX
646   GRAEFE                                                              JONATHAN         ANNAPOLIS          MD
647   GRANGER                                                             JOHN             ENTERPRISE         AL
648   GRANGER                                                             KATHRYN          ENTERPRISE         AL
649   GRAPES                                                              JOSEPH           LANCASTER          PA
650   GRAPES                                                              KARLA            LANCASTER          PA
651   GRAVES                                                              ANDREA           BROOKLYN           NY
652   GRAVES                                                              JEFFEREY         MILFORD            NE
653   GRAVINS                                                             JEANNE           MIDLOTHIAN         VA
654   GRAVITT                                                             ANNA             WHEELWRIGHT        KY
655   GRAY                                                                DONNA            ORLANDO            FL
656   GREATHOUSE                                                          ERICA            PFLUGERFILLE       TX
657   GREATHOUSE                                                          JARED            PFLUGERFILLE       TX
658   GREEN                                                               BOBBY            JOHNSON CITY       TN
659   GREEN                                                               CALVIN           GURLEY             AL
660   GREEN                                                               JESSICA          GURLEY             AL
661   GREEN                                                               KEA              GERMANTOWN         OH
662   GREEN                                                               THOMAS           SYLACAUGA          AL
663   GREGORY                                                             JOHN             ST. LOUIS          MO
664   GREIDER                                                             JAMES            STREATOR           IL
665   GREIG                                                               JENNIFER         TUCSON             AZ
666   GREMIGNI                                                            CHRISTINA        MONROVIA           CA
667   GRENIER                                                             TAMARA           NANTUCKET          MA
668   GREVE                                                               BARBARA          WORTHINGTON        MN
669   GREVE                                                               HENRY            WORTHINGTON        MN
670   GRIFFIN                                                             DARIN            LONGWOOD           FL
671   GRIFFITH                                                            JAMIE            ALLEN              TX
672   GRIFFITH                                                            PAUL             ALLEN              TX
673   GRIPP                                                               AYLENE           SANTA BARBARA      CA
674   GRIPP                                                               PARRY            SANTA BARBARA      CA
675   GRISHAM                                                             BRAD             LITTLEFIELD        TX
676   GROBBEL                                                             JILL             LAPEER             MI
677   GROBBEL                                                             WILLIAM          LAPEER             MI
678   GROCHOWSKI                                                          JOYCE            PALOS HEIGHTS      IL
679   GRODILES                                                            SALVADOR         BATON ROUGE        LA
680   GROSS                                                               IRENE            GASTONIA           NC
681   GRUNWALD                                                            ERIC             WAUSAU             WI
682   GUIDESTONE FINANCIAL RESOURCES OF THE SOUTHERN BAPTIST CONVENTION                    DALLAS             TX
683   GUSTAVSON                                                           LYNNE            WILLIAMS BAY       WI
684   GUTIERREZ                                                           JOHN             ANGELS CAMP        CA
685   GUTIERREZ                                                           RICHARD          RIVERBANK          CA
686   HACKER                                                              KYLE             INDEPENDENCE       KY
687   HAGEN                                                               DEBRA            PUYALLUP           WA
688   HAHN                                                                DONNA            FREDERICK          MD
689   HAHNER                                                              EVELYN           MILFORD            CT
690   HAJI                                                                MWAFAQ           NORTHPORT          AL
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691   HALDEMAN                                         DANIEL           ELIZABETHTOWN     PA
692   HALL                                             BETTY            YPSILANTI         MI
693   HALL                                             DAVID            CLOVERDALE        IN
694   HALL                                             NICHOLAS         APPLE VALLEY      MN
695   HALL                                             SONDRA           TOPEKA            KS
696   HALLIWELL                                        GEOFFREY         DOYLESTOWN        PA
697   HALLIWELL                                        KAILEY           DOYLESTOWN        PA
698   HALLIWELL                                        KELSI            DOYLESTOWN        PA
699   HAMEL                                            RITA             TROY              MT
700   HAMILTON                                         CHRISTINE        CHAPEL HILL       NC
701   HAMILTON                                         DEBORAH          FUNKSTOWN         MD
702   HAMILTON                                         DOUGLAS          CARLSBAD          CA
703   HAMPTON                                          LAQWANZA         SAN DIEGO         CA
704   HANCOCK                                          KAY              ANAHEIM           CA
705   HANDVILLE                                        JUSTIN           LARGO             FL
706   HANDY                                            BERLYNE          WASHINGTON        DC
707   HANKS                                            JOHN             PLAQUEMINE        LA
708   HANKS                                            NANCY            SARASOTA          FL
709   HANNER                                           TERRY            RODEO             NM
710   HANSEN                                           BARBARA          NORTH PLATTE      NE
711   HANSEN                                           DIANE            EAGAN             MN
712   HANSEN                                           TERRIS           ERIE              CO
713   HARDER                                           KIM              OLALLA            WA
714   HARDMAN                                          KRYSTYN          EL DORADO HILLS   CA
715   HARDWAY JR                                       EARL             VERMILION         OH
716   HARLINGEN MEDICAL CENTER, LIMITED PARTNERSHIP                     HARLINGEN         TX
717   HARMON                                           REBECCA          WICHITA           KS
718   HARMS                                            RITA             WILMER            AL
719   HARPER                                           ANDRE            NEW YORK          NY
720   HARRIS                                           VERNA            HOUSTON           TX
721   HARRIS TEETER                                                     CINCINNATI        OH
722   HARRIS TEETER, INC.                                               CINCINNATI        OH
723   HARRIS TEETER, LLC                                                CINCINNATI        OH
724   HARRISON                                         JAMES            EDMOND            OK
725   HARRISON                                         MARY             EDMOND            OK
726   HARTL                                            JEFFREY          VANCOUVER         WA
727   HARVEY                                           DENISE           SOUTH LYON        MI
728   HASEGAWA                                         CAROL            CONCORD           CA
729   HASIM                                            KUDEZA           WOODLAND PARK     NJ
730   HASKINS                                          MARY             ROCKLAND          MA
731   HASKINS                                          RICHARD          ROCKLAND          MA
732   HASSEL                                           ABIGAIL          RIVERBANK         CA
733   HASTINGS                                         JACQUELINE       WOODLAND HILLS    CA
734   HATCHER                                          JANET            BURTON            OH
735   HAUCK                                            NANCY            FAIRPLAY          MD
736   HAUSER                                           KEN              CONIFER           CO
737   HAVENS                                           KARLY            HANNA CITY        IL
738   HAWKINS                                          MELANIE          ALBUQUERQUE       NM
739   HAYES                                            LOUISE           ALVIN             TX
740   HAYWARD                                          KAY              NORTH BRANCH      MI
741   HEALTHY OPTIONS, INC.                                             CINCINNATI        OH
742   HEARTLAND HEALTH & WELLNESS FUND                                  DAYTON            OH
743   HEATH                                            AMY              CARY              NC
744   HEDGES                                           JODI             KUNA              ID
745   HEGGE                                            JOSEPH           ANDERSON          CA
746   HEIKES                                           JENNIFER         MIFFLIN           PA
747   HELMER                                           KATHRYN          RICHLAND          MI
748   HEMSEY JUDGE, PC                                                  SALEM             MA
749   HENDRICKS                                        SHERILYN         KEARNEY           NE
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750   HENLEY                                              KYLE             BOISE              ID
751   HENRY                                               KATHLEEN         ALTON              IL
752   HENRY                                               SUSAN            WARREN             OH
753   HERMANSON                                           JULIE            PULLMAN            WA
754   HERNANDEZ                                           BRYAN            MONROVIA           CA
755   HERNANDEZ                                           MIRIAM           BURBANK            CA
756   HERRING                                             AVERY            VONORE             TN
757   HESS                                                LOUISE           SHOREVIEW          MN
758   HESSE                                               JASON            SOUTHBURY          CT
759   HESSELBEIN                                          RONALD           JACKSON            MS
760   HEWETT                                              PAULINE          JACKSONVILLE       FL
761   HEYDE                                               HENRI            SAN DIEGO          CA
762   HICKS                                               KIEFER           CAMBRIDGE          MA
763   HICKS                                               TERRY            CENTREVILLE        VA
764   HIGGINBOTHAM                                        STEVEN           PLEASANT GROVE     AL
765   HIGHFILL                                            GREG             LAS VEGAS          NV
766   HIJAZI                                              AHMAD            VALRICO            FL
767   HILGART                                             FRED             CHICAGO            IL
768   HILGENFELD                                          KYLE             STELLA             NE
769   HILGERT                                             KATRINKA         LINCOLN            NE
770   HILL                                                BETTY JO         MILLBROOK          AL
771   HILL                                                KAREN            HUMBOLDT           TN
772   HILL                                                KAREN            CUMMING            GA
773   HILL                                                MARY             JESUP              GA
774   HILLSIDE FAMILY MEDICINE, LLC                                        ANCHORAGE          AK
775   HINES                                               KENNETH          BEREA              OH
776   HINES                                               LOIS             BEREA              OH
777   HISHINUMA                                           SANDRA           HONOLULU           HI
778   HISHINUMA                                           TRAVIS           HONOLULU           HI
779   HOELL                                               FRANCIS          DUNBARTON          NH
780   HOFFMAN                                             RAYMOND          NORTH ARLINGTON    NJ
781   HOFFMANN                                            GILLES           CHICAGO            IL
782   HOKE                                                ELIZABETH        BIRMINGHAM         AL
783   HOKE                                                FELIX            BIRMINGHAM         AL
784   HOLCOMB                                             CAROLYN          CENTERTON          AR
785   HOLDSWORTH                                          CATHY            SHAWNEE MSN        KS
786   HOLLIDAY                                            ANASTASIA        EDINBURG           TX
787   HOLMES III                                          WILLIAM          WACO               TX
788   HOLSAPPLE                                           NAOMI            LOUISVILLE         KY
789   HOLYOAKE                                            NANCY            SAN CLEMENTE       CA
790   HOLZMAN                                             JAC              SANTA MONICA       CA
791   HOME DEPOT U.S.A., INC.                                              ATLANTA            GA
792   HONEYCUTT                                           BRENDA           HOLLYWOOD          FL
793   HOOPER                                              JESSICA          HANCEVILLE         AL
794   HOOPLE                                              JOANNE           ASHLAND            KY
795   HOOVER                                              DANIEL           LAS VEGAS          NV
796   HOOVER                                              JOHN             MIAMI              FL
797   HORIZON AIR INDUSTRIES, INC.                                         SEATAC             WA
798   HORIZON AIR INDUSTRIES, INC. WELFARE BENEFIT PLAN                    SEATAC             WA
799   HORN                                                JOHN             MYRTLE BEACH       SC
800   HORN                                                LAWRENCE         MORTON GROVE       IL
801   HORN                                                MARY             MORTON GROVE       IL
802   HORTON                                              JACQUELINE       CHARLESTON         SC
803   HORVATH                                             SANDRA           NORTH FORT MYERS   FL
804   HOSPITAL BUSINESS SERVICES, LLC                                      ONTARIO            CA
805   HOUSE                                               JOSHUA           JACKSONVILLE       FL
806   HOUSE                                               WINFORD          JACKSONVILLE       FL
807   HOUSTON                                             RODERICK         ANNAPOLIS          MD
808   HOVATTER                                            MARGARET         WINCHESTER         VA
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                              Business/Last Name                         First Name              City     State/Country
809   HOVATTER                                                       ONA              WINCHESTER         VA
810   HOWIE                                                          DOUGLAS          PENSACOLA          FL
811   HRISTOV                                                        HRISTO           GIBSONIA           PA
812   HRISTOVA                                                       SHTILIYANA       GIBSONIA           PA
813   HUANG                                                          EMILY            WINSTON SALEM      NC
814   HUANG                                                          SHIYANG          TOPEKA             KS
815   HUBBELL                                                        KATHLEEN         SEATTLE            WA
816   HUBBELL                                                        PHILIP           SEATTLE            WA
817   HUBER                                                          PEGGY            GREAT FALLS        MT
818   HUGHES                                                         PATRICK          LAUREL             MD
819   HUI                                                            DALE             BELMONT            CA
820   HUNDERTMARK                                                    WALTER           SCOTT CITY         KS
821   HUNTOON                                                        IRENE            TAKOMA PARK        MD
822   HUSAR                                                          CARMEN           ROGERS             MN
823   HUSAR                                                          LUCIAN           ROGERS             MN
824   HUTCHINSON                                                     ANN              VANCOUVER          WA
825   HUTTO                                                          CASSIDY          SAINT PETERSBURG   FL
826   HY                                                             CHHORLY          FORT SMITH         AR
827   HYDE                                                           JEFFREY          DECATUR            TN
828   HY-VEE INC.                                                                     WEST DES MOINES    IA
829   IKEDA                                                          LURLINE          GARDENA            CA
830   INDIANA/KENTUCKY/OHIO REGIONAL COUNCIL OF CARPENTERS WELFARE                    TROY               MI
      FUND
831   INGLESBY                                                       EDWARD           SAINT PETERSBURG   FL
832   INHERITAGE, INC.                                                                CLARKSTON          GA
833   INMAN                                                          CASEY            MANLIUS            NY
834   INSTITUTE OF ADVANCED MEDICINE AND SURGERY LLC                                  BENSALEM           PA
835   IOFFE                                                          VIKTORIYA        ROCKLIN            CA
836   IRIZARRY ECHEVARRIA                                            ULYSSES          CARROLLTON         TX
837   IRVINE                                                         MARY             NORTHAMPTON        MA
838   IRWIN                                                          ALLEN            NAPLES             FL
839   ISOM                                                           CYNANNBRAH       HILLSBORO          TN
840   JABLONSKI                                                      NATALIA          FARMINGTON HILLS   MI
841   JABLONSKI                                                      PAMELA           FARMINGTON HILLS   MI
842   JACKSON                                                        BETTY            ENID               OK
843   JACKSON                                                        JAMES            ENID               OK
844   JACKSON                                                        MARION           BASTROP            TX
845   JAMIL                                                          SAIRA            HALETHORPE         MD
846   JANES                                                          WEILAND          BARDSTOWN          KY
847   JAQUES                                                         CALLIE           LOS ANGELES        CA
848   JAY C FOOD STORES                                                               CINCINNATI         OH
849   JAYNE                                                          DAVID            KIRKSVILLE         MO
850   JEFFRIES                                                       JERRY            CHECOTAH           OK
851   JEFFRIES JR                                                    JERRY            CHECOTAH           OK
852   JELINEK                                                        DONALD           ELKHORN            NE
853   JELINEK                                                        SHARON           ELKHORN            NE
854   JEMO                                                           ELIZABETH        RALEIGH            NC
855   JENKINS                                                        BOBBETTE         QUINCY             IL
856   JENKINS                                                        MARY             SOUTHGATE          MI
857   JENKINS                                                        RANDALL          QUINCY             IL
858   JERRY WALTERS CONSTRUCTION, INC.                                                BROOKSVILLE        FL
859   JERSEYMAILD MILK PRODUCTS                                                       BOISE              ID
860   JEVIT                                                          AUDREY           EAST STROUDSBURG   PA
861   JEWEL FOOD STORES                                                               BOISE              ID
862   JEWEL FOODS                                                                     BOISE              ID
863   JEWEL FOODS, INC.                                                               BOISE              ID
864   JIMENEZ                                                        JOSE             EL PASO            TX
865   JIMENEZ JR                                                     JOSE             EL PASO            TX
866   JOHNSON                                                        BRITTANY         NASHVILLE          TN
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867   JOHNSON                                          CHRISTOPHER      BELLE RIVE         IL
868   JOHNSON                                          DONNA            CUMMAQUID          MA
869   JOHNSON                                          JEREMY           LIBERTY            KY
870   JOHNSON                                          KATHY            FORREST            IL
871   JOHNSON                                          LYNNE            BROCKTON           MA
872   JOHNSON                                          NANCY            INDIANAPOLIS       IN
873   JOHNSON                                          PAMELA           RUTLAND            VT
874   JOHNSTON                                         DARYL            VALLES MINES       MO
875   JONES                                            ANNABELL         SLIDELL            LA
876   JONES                                            BARBARA          GAINESVILLE        FL
877   JONES                                            IMAN             JACKSONVILLE       FL
878   JONES                                            LINDA            JACKSONVILLE       FL
879   JOO                                              ANDY             RICHARDSON         TX
880   JOO                                              BO               LOS ANGELES        CA
881   JORDAN                                           SHERRY           ONTARIO            CA
882   JUBINVILLE                                       DAVID            SOUTH HADLEY       MA
883   JUDGE                                            STEPHEN          TOPSFIELD          MA
884   JUNE                                             MARCIA           DAVISON            MI
885   JUNE                                             MICHAEL          DAVISON            MI
886   JUNIOR FOOD STORES OF WEST FLORIDA, INC.                          CINCINNATI         OH
887   JURY                                             MARIGAIL         LOVELAND           CO
888   KAISER                                           RICHARD          COLORADO SPRINGS   CO
889   KALLISH                                          KAREN            CUMBERLAND         MD
890   KAMOKU                                           MAHINA           ASTORIA            NY
891   KANEPS                                           ANN              LIBERTY TOWNSHIP   OH
892   KASTELER                                         CHRIS            SHERMAN OAKS       CA
893   KATZ                                             ARYEH            BALTIMORE          MD
894   KAUFFELD                                         JUDY             HINESBURG          VT
895   KAUFFELD                                         KAREN            S BURLINGTON       VT
896   KAZERANI                                         DIBA             LONG BEACH         CA
897   KEELER                                           AMY              LOGAN              UT
898   KEENAN                                           ERMINIE          DOVER              NH
899   KELLEY                                           ANDREW           CHATTANOOGA        TN
900   KELLEY                                           TIANA            SAINT AUGUSTINE    FL
901   KELLOGG COMPANY                                                   BATTLE CREEK       MI
902   KELLOGG COMPANY RETIREE WELFARE BENEFIT PLAN                      BATTLE CREEK       MI
903   KELLOGG COMPANY WELFARE BENEFIT PLAN                              BATTLE CREEK       MI
904   KELLUM                                           SHARON           NORTH BEND         OR
905   KELLY                                            MAUREEN          DALLAS             TX
906   KENDALL                                          RUBY             MARKHAM            IL
907   KENT                                             KAREN            BATAVIA            NY
908   KEPHALOS                                         NICK             FUQUAY VARINA      NC
909   KERN                                             JOHN             VALPARAISO         IN
910   KERN                                             JULIE            MECHANICSBURG      PA
911   KERR                                             KEVIN            METUCHEN           NJ
912   KESKITALO                                        DANIEL           NEW YORK MILLS     MN
913   KESKITALO                                        JOYELL           FARGO              ND
914   KESKITALO                                        SHEILA           NEW YORK MILLS     MN
915   KESSEL                                                            CINCINNATI         OH
916   KESSEL FOOD MARKETS, INC.                                         CINCINNATI         OH
917   KESSLER                                          ARNOLD           BALA CYNWYD        PA
918   KESTER                                           LEONA            FRIEDHEIM          MO
919   KEULER                                           GISELE           FORT MYERS         FL
920   KEVORKIAN                                        ANGELA           NORWALK            CA
921   KHAN                                             EUNA             FALCON HEIGHTS     MN
922   KHAY                                             YONG             MANASSAS           VA
923   KIAPOS                                           HARRY            GARDEN GROVE       CA
924   KILGORE                                          PHYLLIS          MILLBRAE           CA
925   KIM                                              SEOYEON          TUSCALOOSA         AL
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                               Business/Last Name                First Name              City         State/Country
926   KIMBLE                                                 KACI             QUINTON                OK
927   KIMURA                                                 MAHOKO           LA JOLLA               CA
928   KING                                                   BEVERLY          CLINTON                MO
929   KING                                                   TIMOTHY          CLINTON                MO
930   KING SOOPERS                                                            CINCINNATI             OH
931   KINSER                                                 SHELLEY          PENSACOLA              FL
932   KIRCHBAUM                                              LAURA            GREENE                 NY
933   KIRK                                                   MAXINE           NEWTON                 KS
934   KLAIBER                                                CARRIE           ALFRED                 ME
935   KLEMENT                                                KATHERINE        JACKSONVILLE           FL
936   KLEMP                                                  MELISSA          SENECA                 IL
937   KLINE                                                  LYNNE            DAVIE                  FL
938   KLOSS                                                  DEBRA            OAK CREEK              WI
939   KLOTZ                                                  ALEXANDER        CHOCORUA               NH
940   KLUSMAN                                                PAUL             WICHITA                KS
941   KNAPP MEDICAL CENTER ASC, LLC (KNAPP MEDICAL GROUP)                     WESLACO                TX
942   KNAPP MEDICAL CENTER ASC, LLC (KNAPP SURGERY CENTER)                    WESLACO                TX
943   KNAPP MEDICAL GROUP                                                     WESLACO                TX
944   KNIGHT                                                 DEBBIE           STUARTS DRAFT          VA
945   KNIGHT                                                 LAUREN           VOLO                   IL
946   KNISS                                                  GEORGE           ELK GROVE              CA
947   KNISS                                                  SHARON           ELK GROVE              CA
948   KNOEBEL                                                DONNA            SCHAUMBURG             IL
949   KNOTH                                                  JUDITH           TEMPE                  AZ
950   KNOWLES                                                JAMES            CORDOVA                TN
951   KODRITCH                                               LAURIE           PALM HARBOR            FL
952   KOLB                                                   GARY             ARNOLD                 MD
953   KOPP                                                   TRAVIS           LITTLETON              CO
954   KORIANITIS                                             CHENEY           FARGO                  ND
955   KORTENKAMP                                             TIM              EAST PALO ALTO         CA
956   KORTH                                                  LOIS             SAINT GEORGE           UT
957   KOSIBA                                                 JULIETA          NORTHBROOK             IL
958   KOTUR                                                  GORAN            NORRIDGE               IL
959   KRAMER                                                 DELLA            SACRAMENTO             CA
960   KRAVCHENKO                                             ELENA            FREDERICKSBURG         VA
961   KREGEL                                                 MARK             LONE TREE              IA
962   KRGP INC.                                                               CINCINNATI             OH
963   KRINSKY                                                DOUGLAS          LUTHERVILLE TIMONIUM   MD
964   KRIZSAN                                                LINDA            TWINSBURG              OH
965   KRIZSAN                                                WILLIAM          TWINSBURG              OH
966   KROGER                                                                  CINCINNATI             OH
967   KROGER LIMITED PARTNERSHIP I                                            CINCINNATI             OH
968   KROGER TEXAS L.P.                                                       CINCINNATI             OH
969   KRULL                                                  ALBERTA          LEMONT                 IL
970   KUBISTA                                                THEODORE         BOCA GRANDE            FL
971   KULAVICH                                               JAMES            WAYMART                PA
972   KULIKOV                                                BERTHA           PORTERVILLE            CA
973   KUNTZ                                                  MELVIN           MONROE                 OH
974   KURZ                                                   PAUL             LADERA RANCH           CA
975   KURZ                                                   SORAYA           LADERA RANCH           CA
976   KUTASI                                                 BARBARA          CALABASAS              CA
977   KUTTER                                                 GEORGE           LIHUE                  HI
978   KUTUGATA                                               DAVID            REDMOND                WA
979   KYLE                                                   SANDRA           OTTAWA                 KS
980   LA JOLLA INFECTIOUS DISEASE INSTITUTE                                   SAN DIEGO              CA
981   LACY                                                   BRYCE            DAYTON                 OH
982   LACY                                                   CHRYSOULA        HUBER HEIGHTS          OH
983   LAFONTAINE                                             LAURA            TARPON SPRINGS         FL
984   LAI                                                    FONG CHING       SAN MARINO             CA
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                                Business/Last Name                        First Name              City    State/Country
 985   LAKE                                                           JANE             EL CAJON          CA
 986   LAKE                                                           LARRY            PALMYRA           MO
 987   LAKE HURON URGENT CARE CENTER, LLC                                              FORT GRATIOT      MI
 988   LALLI                                                          CELESTE ELAINE   RUTHERFORD        NJ
 989   LALOON                                                         NANTIYA          BERKELEY          CA
 990   LAMASTER                                                       DENISE           BELOIT            WI
 991   LANDUYT                                                        CAROLINE         AUSTIN            TX
 992   LANDUYT                                                        HOLLY            AUSTIN            TX
 993   LANGLEY                                                        ELAINE           HENDERSON         NV
 994   LAPONZINA                                                      KATE             AUGUSTA           GA
 995   LARSEN                                                         TAYLER           GRANITE FALLS     WA
 996   LARSON                                                         DIANE            PERKASIE          PA
 997   LARSON                                                         LARENE           INDEPENDENCE      MO
 998   LAT                                                            MILAGROS         SALINAS           CA
 999   LATHAM                                                         PEGGY            GALLIPOLIS        OH
1000   LATNER                                                         ADAM             TRENTON           FL
1001   LATNER                                                         MARK             TRENTON           FL
1002   LATVAKOSKI                                                     HARRI            HYDE PARK         UT
1003   LAU                                                            CHRISTOPHE       SAINT CLOUD       MN
1004   LAUTZENHEISER                                                  NICOLE           SAN DIEGO         CA
1005   LAVALLE                                                        MARCELLA         EL MIRAGE         AZ
1006   LAW OFFICE OF STEPHEN BRADLEY SMALL, LLC                                        KANSAS CITY       MO
1007   LAW OFFICES OF SCOT D. BERNSTEIN, A PROFESSIONAL CORPORATION                    FOLSOM            CA
1008   LAY                                                            DOROTHY          WESTMINSTER       MD
1009   LAY                                                            SANDRA           WESTMINSTER       MD
1010   LEACH                                                          MICHAEL          SPRING HILL       FL
1011   LEE                                                            JENNY            MARIETTA          GA
1012   LEE                                                            TANIA            WELLESLEY         MA
1013   LEE                                                            WILLIAM          BETHLEHEM         PA
1014   LEFEVERS                                                       ARTHUR           SPRINGFIELD       KY
1015   LEGACY LIFEPOINT HEALTH, LLC                                                    BRENTWOOD         TN
1016   LEIDY                                                          MARILYN          CEDAR CREEK       TX
1017   LEIGHNINGER                                                    BRUCE            VISALIA           CA
1018   LELEKIS                                                        JOHN             TAMPA             FL
1019   LELEKIS                                                        PAULA            TAMPA             FL
1020   LEMOINE                                                        ELAINE           WORCESTER         MA
1021   LEMOINE                                                        JEROME           WORCESTER         MA
1022   LEMUS                                                          LESLIE           MONT ALTO         PA
1023   LENDENNIE                                                      STEVEN           BLYTHEVILLE       AR
1024   LEREW                                                          HANNAH           LANCASTER         PA
1025   LESLIE                                                         REBECCA          CONCORD           VT
1026   LEVERING                                                       MARTHA           CHARLOTTESVILLE   VA
1027   LEWIS                                                          DAWN             ELK GROVE         CA
1028   LEYVA                                                          EDGARDO          CATHEDRAL CITY    CA
1029   LEYVA                                                          ISAAC            CATHEDRAL CITY    CA
1030   LI                                                             MENGBING         ARLINGTON         VA
1031   LIEBL                                                          DIANNE           MAHNOMEN          MN
1032   LIEN                                                           BENJAMIN         MOORHEAD          MN
1033   LIEN                                                           BRUCE            MILTONA           MN
1034   LIEN                                                           SHERIE           MILTONA           MN
1035   LIFEPOINT HEALTH, INC.                                                          BRENTWOOD         TN
1036   LIFEPOINT HEALTH, INC. HEALTH BENEFITS PLAN                                     BRENTWOOD         TN
1037   LIGHT                                                          CARL             ROANOKE           VA
1038   LIGHTY                                                         LAWRENCE         GLEN ALLEN        VA
1039   LIGHTY                                                         MABEL            GLEN ALLEN        VA
1040   LILLY                                                          JOHN             OKLAHOMA CITY     OK
1041   LINDNER                                                        KRISTEN          FRANKLIN          MA
1042   LINVILLE                                                       BONNIE           SAINT LOUIS       MO
1043   LITTLE                                                         PAUL             WAYNE             PA
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1044   LITTLE                                                    RODNEY           LONSDALE           MN
1045   LITTLE                                                    TED              CHARLESTOWN        IN
1046   LITZENBERGER                                              JULIA            ODEBOLT            IA
1047   LIU                                                       PETER            CAMARILLO          CA
1048   LLAMAS                                                    LUIS             DODGE CITY         KS
1049   LOCHRAY                                                   JAMES            AMES               IA
1050   LOCKER                                                    JETTA            INDIANAPOLIS       IN
1051   LOFTUS                                                    AMBER            ALLEGAN            MI
1052   LONG                                                      JAMEY            WOODBRIDGE         VA
1053   LONG                                                      KATHERINE        NEWPORT NEWS       VA
1054   LONG                                                      KATHLEEN         WOODBRIDGE         VA
1055   LONG JR                                                   JOHN             WOODBRIDGE         VA
1056   LOPEZ                                                     AMBER            SPRING             TX
1057   LOPEZ                                                     DIEGO            NORTH ROYALTON     OH
1058   LOPEZ                                                     GREGORY          PRINCETON          NJ
1059   LOPEZ                                                     KARINA           SAN MATEO          CA
1060   LORD                                                      KEITH            VALENCIA           CA
1061   LORENCE                                                   THERESA          TAMPA              FL
1062   LORIO                                                     GARY             DOYLESTOWN         PA
1063   LOTTRIDGE                                                 JUSTIN           BEAVERTON          OR
1064   LOVE                                                      NATHAN           HUEYTOWN           AL
1065   LUBELSKI                                                  JAMES            EDWARDSBURG        MI
1066   LUBELSKI                                                  JEANNE           EDWARDSBURG        MI
1067   LUCADAMO                                                  FRANK            MOUNT VERNON       NY
1068   LUCAS                                                     GENEVA           BRUNSWICK          OH
1069   LUCAS                                                     JAMES            HAMBURG            IA
1070   LUCERNE FOODS, INC.                                                        BOISE              ID
1071   LUEKER                                                    GEORGE           IRVINE             CA
1072   LUKO                                                      DENISE           STUDIO CITY        CA
1073   LUMENOMICS INC                                                             SEATTLE            WA
1074   LUNIK                                                     JOSEPH           FAIRVIEW           PA
1075   LURK                                                      RYAN             ST. LOUIS          MO
1076   LUTHI                                                     GALEN            MORRIS             MN
1077   LUTZ                                                      CLAUDIA          NEWTON             NC
1078   LYNCH                                                     BENJAMIN         LOS ALTOS          CA
1079   MACHIN                                                    JOSE             SAN LORENZO        PR
1080   MACKALL                                                   CRYSTAL          ANNAPOLIS          MD
1081   MACKENZIE                                                 CHRISTINE        LAGUNA NIGUEL      CA
1082   MAGALLAN                                                  PHILLIP          DALLAS             TX
1083   MAHANK                                                    LAURA            KALAMAZOO          MI
1084   MAHER                                                     AMY              EAGLE              ID
1085   MAHER                                                     VIRGINIA         NORTH PROVIDENCE   RI
1086   MAIDANA                                                   MERCEDITAS       AUSTIN             TX
1087   MAITLEN                                                   GLENDA           LOS ALAMITOS       CA
1088   MANCILLA                                                  PEDRO            FAYETTEVILLE       AR
1089   MANDERA                                                   ROBERT           CORPUS CHRISTI     TX
1090   MANDZIARA                                                 BRIAN            MCCULLOM LAKE      IL
1091   MANGUM                                                    BRETT            FORT WORTH         TX
1092   MANGUM                                                    JOE              HARRISBURG         NC
1093   MANHATTAN AND BRONX SURFACE TRANSIT OPERATING AUTHORITY                    NEW YORK           NY
1094   MANLEY                                                    JOAN             OCALA              FL
1095   MANN                                                      NANCY            HUNTINGTON         IN
1096   MANNING                                                   MARTIN           CLEVELAND          NC
1097   MAR                                                       PEARL            DALY CITY          CA
1098   MARAVICH                                                  KAREN            FREEDOM            PA
1099   MARC                                                      PERRY            GLEN ALLEN         VA
1100   MARCINIAK                                                 ALLEN            ORANGE GROVE       TX
1101   MARENGO                                                   MARIA            COLLEGE STATION    TX
1102   MARENTES                                                  KAYLA            PARADISE           TX
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1103   MARIANO'S FRESH MARKET                                                            CINCINNATI         OH
1104   MARRA                                                            MARGARET         BLUEFIELD          VA
1105   MARTI                                                            JEANETTE         FLORISSANT         MO
1106   MARTIN                                                           BRENDA           HARRISBURG         PA
1107   MARTIN                                                           DIANE            SARASOTA           FL
1108   MARTIN                                                           DOLLY            CHARLESTON         MO
1109   MARTIN                                                           JUNE             LOS ANGELES        CA
1110   MARTINEZ                                                         LUIS             CALIFORNIA CITY    CA
1111   MARTINEZ                                                         PANFILA          BUDA               TX
1112   MARTINS                                                          LUCIANA          OCEANSIDE          CA
1113   MASON                                                            MARGO            KINGMAN            AZ
1114   MASONER TIDWELL                                                  ANDREA           NORTHPORT          AL
1115   MATA                                                             EDUARDO          LAREDO             TX
1116   MATA                                                             RAQUEL           LAREDO             TX
1117   MATIZ                                                            ROBERT           OCEAN CITY         MD
1118   MATTHEWS                                                         DENNIS           TWENTYNINE PALMS   CA
1119   MATTHEWS                                                         KATHY            VILLA RICA         GA
1120   MAXFIELD                                                         LUANN            CRYSTAL            MN
1121   MAXWELL                                                          BRUCE            EUREKA             CA
1122   MAXWELL                                                          DWIGHT           COMPTON            CA
1123   MAY                                                              HOWARD           FLORENCE           AL
1124   MAY                                                              VIRGINIA         FLORENCE           AL
1125   MAYER                                                            ALAN             SAN LEANDRO        CA
1126   MAYER                                                            DOROTHY          JACKSONVILLE       FL
1127   MAZURKO                                                          STEVEN           MINNEAPOLIS        MN
1128   MBABAZI                                                          GLORIA           TUCSON             AZ
1129   MCC/METZGER LAND & LIVESTOCK                                                      HAVRE              MT
1130   MCCALL                                                           ELIZABETH        SOUTH JORDAN       UT
1131   MCCARTHY                                                         ALEXANDRA        LIVONIA            MI
1132   MCCARTHY                                                         SCOTT            ESTERO             FL
1133   MCCLENDON                                                        MARIE            GALLANT            AL
1134   MCCLENDON                                                        RAY              GALLANT            AL
1135   MCCLINCY                                                         CAROL            FEDERAL WAY        WA
1136   MCCOLLUM                                                         MARY             LAWRENCE           KS
1137   MCCRAY                                                           ALVIN            ORLANDO            FL
1138   MCDANIELS                                                        MIKE             MADISON            IN
1139   MCDONALD                                                         ELLEN            MARTINEZ           CA
1140   MCENANY                                                          VIRGINIA         WAVERLY            IA
1141   MCGETTIGAN                                                       KATHY            DULUTH             GA
1142   MCKENZIE                                                         STEPHEN          PROVIDENCE         RI
1143   MCLAIN                                                           MARK             LOMPOC             CA
1144   MCLANE COMPANY, INC. AND THE MCLANE COMPANY, INC. WELFARE PLAN                    TEMPLE             TX
1145   MCLAWS                                                           JERROLD          OREM               UT
1146   MCLAWS                                                           TERESA           OREM               UT
1147   MCLEAN                                                           FRANCES          NASHUA             NH
1148   MCMATH                                                           COLYNN           SPRINGFIELD        OR
1149   MCMEEL                                                           ROBERT           HOUMA              LA
1150   MCNUTT                                                           JOHN             LADERA RANCH       CA
1151   MCPHEETERS                                                       PAULINE          NEWTON             KS
1152   MCWHITE                                                          AMANDA           RICHMOND           VA
1153   MEADOR                                                           GLENDA           DECATUR            MS
1154   MEEHAN                                                           KEVIN            PORT JEFFERSON     NY
1155   MEIJER GREAT LAKES LP                                                             GRAND RAPIDS       MI
1156   MEIJER HEALTH BENEFITS PLAN                                                       GRAND RAPIDS       MI
1157   MEIJER STORES LP & TOWN TOTAL HEALTH, LLC                                         GRAND RAPIDS       MI
1158   MEIJER, INC.                                                                      GRAND RAPIDS       MI
1159   MEISENHEIMER                                                     TATJANA          EL DORADO          AR
1160   MELCHIORE                                                        FRANK            ST PETERSBURG      FL
1161   MENDOZA                                                          STEPHANIE        LAKE ORION         MI
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                            Business/Last Name            First Name              City    State/Country
1162   MERKEL                                         VICKI            FENTON            MO
1163   MERKLIN                                        JAN              TIGARD            OR
1164   MERKLIN                                        LEE              TIGARD            OR
1165   MERRITT                                        DARLENE          SAN JOSE          CA
1166   MERRITT                                        PEGGY            OPELIKA           AL
1167   MERRITT                                        SEAN             SANTA ANA         CA
1168   METCALF, TILLER, & CHEN, INC.                                   RENO              NV
1169   METRO MARKET                                                    CINCINNATI        OH
1170   METRO-NORTH COMMUTER RAILROAD COMPANY                           NEW YORK          NY
1171   METROPOLITAN TRANSPORTATION AUTHORITY                           NEW YORK          NY
1172   MEYER                                          CHRISTOPHER      LOUISVILLE        KY
1173   MEYER                                          MICHELLE         LEDBETTER         TX
1174   MEYERS                                         CHRISTOPHER      WASHINGTON        DC
1175   MICHAEL DOLE MD                                                 ALEXANDRIA        LA
1176   MICKLE                                         LARRY            BULLHEAD CITY     AZ
1177   MILBURN                                        MARILYN          SARASOTA          FL
1178   MILBURN                                        WILLIAM          SARASOTA          FL
1179   MILES                                          NORMA            MARTIN            TN
1180   MILITELLO                                      JAMES            DENHAM SPRINGS    LA
1181   MILITELLO                                      LINDA            DENHAM SPRINGS    LA
1182   MILLER                                         BRIAN            SANFORD           FL
1183   MILLER                                         CAROLYN          GALVESTON         TX
1184   MILLER                                         DEBRA            BLOOMINGTON       IL
1185   MILLER                                         JEFFREY          BAKERSFIELD       CA
1186   MILLER                                         LAWANDA          EASTPOINTE        MI
1187   MILLER                                         MARC             BOSSIER CITY      LA
1188   MILLER                                         RITA             TIMONIUM          MD
1189   MILLER                                         ROBERT           MERCED            CA
1190   MILLET                                         BLAKE            PONCHATOULA       LA
1191   MILLIKAN                                       RICHARD          LOS ANGELES       CA
1192   MILLMAN                                        JANET            PENNSAUKEN        NJ
1193   MILLS                                          KENNETH          SPRING HILL       FL
1194   MIMS                                           JACQUELITA       HOUSTON           TX
1195   MINKS                                          WILLIAM          KNOXVILLE         TN
1196   MISKIMEN                                       MARGARET         LIVONIA           MI
1197   MISSION HOSPITAL, INC.                                          MISSION           TX
1198   MITCHELL                                       CAROLYN          WILLIAMSBURG      VA
1199   MITCHELL                                       ROY              WILLIAMSBURG      VA
1200   MIXON                                          KAYLEEN          DOUGLAS           WY
1201   MOATS                                          SAMUEL           WINCHESTER        VA
1202   MOGAN                                          RUTH             NORTH PORT        FL
1203   MOGOVAN                                        DANIEL           SPRINGFIELD       MO
1204   MOHANDOSS                                      SARANYA          SAMMAMISH         WA
1205   MONDT                                          CAROL            HAMMOND           LA
1206   MONTGOMERY                                     LINDEN           PUYALLUP          WA
1207   MOORE                                          DAWN             SPRINGFIELD       MA
1208   MOORE                                          GERALDINE        WETUMPKA          AL
1209   MOORE                                          JAMES            SPRINGFIELD       MA
1210   MOORE                                          MARILYN          WHITESBORO        TX
1211   MORANDO                                        NICHOLAS         BOCA RATON        FL
1212   MORANO                                         MICHAEL          MILFORD           CT
1213   MORELAND                                       ROY              DEPORT            TX
1214   MORENO                                         DANIEL           HOUSTON           TX
1215   MORGAN                                         ESTATE OF JOHN   YREKA             CA
1216   MORGAN                                         KAREN            SHELBY TOWNSHIP   MI
1217   MORGAN                                         MACK             UNIONTOWN         AL
1218   MORRIS                                         DONNA            SULPHUR           LA
1219   MORRIS                                         SHERYL           RICHMOND          MI
1220   MORSE                                          SHEILA           EAST ORANGE       NJ
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1221   MOTTA                                           MATTHEW          TAMPA              FL
1222   MOYERS                                          CRYSTAL          SWANNANOA          NC
1223   MS INSPECTIONS AND LOGISTICS INC                                 INDIANAPOLIS       IN
1224   MTA BUS COMPANY                                                  NEW YORK           NY
1225   MTA CONSTRUCTION & DEVELOPMENT COMPANY                           NEW YORK           NY
1226   MULHAUSER                                       KIMBERLY         WINDHAM            NH
1227   MULLEN                                          JAN              MARIPOSA           CA
1228   MULLEN                                          ROBERT           MARIPOSA           CA
1229   MUNN                                            MARY             HOUSTON            TX
1230   MUNN                                            THOMAS           HOUSTON            TX
1231   MUNRO                                           HEATHER          FALCON HEIGHTS     MN
1232   MURPHY                                          ANTHONY          SLOCOMB            AL
1233   MURPHY                                          MICHAEL          NASHVILLE          TN
1234   MURPHY                                          WILLIAM          OKLAHOMA CITY      OK
1235   MURRAY                                          MARK             CAMPBELLSBURG      KY
1236   MUSSO                                           THOMAS           DELMONT            PA
1237   MUTSCHLER                                       LORRIE           EVERETT            WA
1238   MUZIO                                           FRANCO           CHATHAM            MA
1239   MUZIO                                           SANDRA           CHATHAM            MA
1240   MYERS                                           JANICE           BEALETON           VA
1241   MYERS                                           LAWRENCE         BEALETON           VA
1242   MYERS                                           MICHAEL          HUNTINGTON BEACH   CA
1243   MYTELKA                                         DANIEL           CARMEL             IN
1244   NAM                                             KI WON           ISSAQUAH           WA
1245   NAPIER                                          GALEN            FAIRBURY           NE
1246   NAPIER                                          LAUREL           FAIRBURY           NE
1247   NARDIL                                          ROBERT           SAN FRANCISCO      CA
1248   NATUZZI                                         EILEEN           ENCINITAS          CA
1249   NAUJOKAS                                        PHYLLIS          CHESAPEAKE CITY    MD
1250   NAVA                                            NOE              CROWN POINT        IN
1251   NAY                                             GINA             AURORA             CO
1252   NEELEY                                          VIRGINIA         SAINT ANSGAR       IA
1253   NEFF                                            DAVID            KIRKLAND           WA
1254   NEFF                                            WENDY            ONAWAY             MI
1255   NEIMAN                                          REBECCA          WEST HOLLYWOOD     CA
1256   NELSON                                          LOIS             KEIZER             OR
1257   NELSON                                          LOLA             GREENDALE          WI
1258   NELSON                                          MAREN            REDONDO BEACH      CA
1259   NELSON                                          ROBERT           SYKESVILLE         MD
1260   NETZLER                                         JOHN             MILWAUKEE          WI
1261   NEVILLE                                         AARON            SAN DIEGO          CA
1262   NEVITT                                          ELEANOR          PARSIPPANY         NJ
1263   NEW ALBERTSON'S, INC.                                            BOISE              ID
1264   NEW YORK CITY TRANSIT AUTHORITY                                  BROOKLYN           NY
1265   NGUYEN                                          CHARLES          ANAHEIM            CA
1266   NGUYEN                                          HOA              HOUSTON            TX
1267   NGUYEN                                          MINH             MADISON            AL
1268   NGUYEN                                          THOAI            MARRERO            LA
1269   NICHOLS                                         MARJORIE         KELSO              WA
1270   NICHOLSON                                       CARIESSA         WEST PALM BEACH    FL
1271   NICHOLSON                                       JOHN             DOVER              NH
1272   NICK                                            KELLIE           MESA               AZ
1273   NICKOL                                          STEPHEN          STEVENSVILLE       MD
1274   NIELSEN                                         DOUGLAS          RALEIGH            NC
1275   NIELSEN                                         MELODY           RALEIGH            NC
1276   NIOSI                                           JOHN             ELMWOOD PARK       NJ
1277   NISHIIE                                         KAREN            HONOLULU           HI
1278   NOAH                                            GWYN             STANTON            MI
1279   NOESSER                                         VINCENT          PORTER             TX
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1280   NOLAN                                           PATRICIA         MIRAMAR              FL
1281   NOLL                                            JEANNINE         SAINT LOUIS          MO
1282   NOMIDES                                         VINCENT          JACKSONVILLE         FL
1283   NORSWING                                        VICTORIA         FRESNO               CA
1284   NORSWING JR                                     ROBERT           FRESNO               CA
1285   NORTH                                           KATHRYN          CHESAPEAKE           VA
1286   NORTH VISTA HOSPITAL, LLC                                        NORTH LAS VEGAS      NV
1287   NORTH VISTA PHYSICIANS, LLC                                      NORTH LAS VEGAS      NV
1288   NOTARNICOLA                                     FRANCINE         SPRING HILL          FL
1289   NOTHSTINE                                       MARILYN          BALDWIN              IA
1290   NOVO-GRADAC                                     ANDREW           MISSION              KS
1291   NUR                                             ABDIRAHMAN       SARASOTA             FL
1292   NUXOLL                                          BEAU             CLARKSTON            WA
1293   NYBAKKEN                                        JERRY            TIFFIN               IA
1294   OBRIEN                                          KATHLEEN         TRAVERSE CITY        MI
1295   OCAMPO                                          IRMA             CATHEDRAL CITY       CA
1296   O'CONNOR HOSPITAL                                                DALY CITY            CA
1297   O'CONNOR HOSPITAL FOUNDATION                                     DALY CITY            CA
1298   OEM MANUFACTURING AND SALES                                      SAN DIEGO            CA
1299   OHIO CARPENTERS HEALTH FUND                                      TROY                 MI
1300   O'KEEFE                                         RUTH             WETHERSFIELD         CT
1301   OLINK                                           JANE             FOREST LAKE          MN
1302   OLIVA                                           FRANCES          LENEXA               KS
1303   OLSEN                                           CODY             IDAHO FALLS          ID
1304   O'MALLEY                                        RITA             LOMBARD              IL
1305   O'NEAL                                          BRIAN            ATLANTA              GA
1306   O'NEAL                                          LYDIA            FAIRFIELD TOWNSHIP   OH
1307   ONG                                             FIONA            SAN JOSE             CA
1308   ONKEN                                           MICHELLE         VICTORVILLE          CA
1309   OOSTING                                         PEG              ELLENSBURG           WA
1310   ORMEROD                                         SALLY            SUMMERVILLE          SC
1311   ORTIZ                                           DAVID            DES MOINES           IA
1312   ORTIZ                                           LEGNA            SAN JUAN             PR
1313   ORTMANN                                         BRENDA           CENTERVILLE          IA
1314   OSHEL                                           CHRISTINE ETTA   DOWNERS GROVE        IL
1315   OSHEL                                           DOUGLAS          DOWNERS GROVE        IL
1316   OSIRIS                                          LAWRENCE         ALBUQUERQUE          NM
1317   OSORIO                                          MICHAEL          HONOLULU             HI
1318   OTSUBO                                          SHOKO            SAN DIEGO            CA
1319   OTTOSEN                                         ASHLIE           PHOENIX              AZ
1320   OVERBAUGH                                       SHARON           SAINT PAUL           MN
1321   OVERBECK                                        KIM              SIMI VALLEY          CA
1322   OVERDUIJN                                       DENISE           JASPER               GA
1323   OWEN                                            ANN              SKIPWITH             VA
1324   OWEN                                            MATTHEW          SKIPWITH             VA
1325   OWEN                                            RONNIE           SKIPWITH             VA
1326   OWENS                                           ANGIE            DANVILLE             VA
1327   OWEN'S                                                           CINCINNATI           OH
1328   PAASCH                                          ETHAN            GALESBURG            IL
1329   PACE                                            ANDREW           CHARLOTTE            NC
1330   PACOLAY                                         BRUCE            NORTH VERSAILLES     PA
1331   PADGETT                                         JESSICA          BROKEN ARROW         OK
1332   PAEZ                                            PAULA            ANN ARBOR            MI
1333   PAINTER                                         GEORGE           COLUMBUS             OH
1334   PAK 'N SAVE FOODS                                                BOISE                ID
1335   PALADINO                                        ELYSIA           PITTSBURGH           PA
1336   PALUMBO                                         ANTHONY          ELMONT               NY
1337   PALUMBO                                         MARILYN          GAINESVILLE          FL
1338   PANDYA                                          HEMANGINI        METUCHEN             NJ
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                                Business/Last Name          First Name                City        State/Country
1339   PAPANDREOU                                       ANDREW             SCOTTSDALE            AZ
1340   PARADISE VALLEY MEDICAL GROUP, INC.                                 NATIONAL CITY         CA
1341   PARIS                                            JILL               LEXINGTON             KY
1342   PARK                                             SANG               CHANTILLY             VA
1343   PARKER                                           ALLAN              EDEN PRAIRIE          MN
1344   PARKER                                           ANN                EDEN PRAIRIE          MN
1345   PARKER                                           ESTATE OF CAROLE   IRVINE                CA
1346   PARKER                                           ESTATE OF EUGENE   IRVINE                CA
1347   PARKER                                           LISA               SAMSON                AL
1348   PARKER                                           RANDY              MCMINNVILLE           OR
1349   PARMER                                           MARIA              MOBILE                AL
1350   PARSLEY                                          MARIA              TAMPA                 FL
1351   PARTHUM                                          MARIANNE           GROSSE POINTE WOODS   MI
1352   PARTSSOURCE INC                                                     AURORA                OH
1353   PASCHAL                                          CORRINE            KANSAS CITY           MO
1354   PATEL                                            ANKIT              BUFFALO               NY
1355   PATEL                                            SARLA              VIRGINIA BEACH        VA
1356   PATEL                                            SHIV               DAYTON                OH
1357   PATT                                             BARBARA            LEOMA                 TN
1358   PATTERSON                                        BOBBIE             MCMINNVILLE           TN
1359   PATTERSON                                        JOE                MCMINNVILLE           TN
1360   PAUL HASTINGS LLP                                                   LOS ANGELES           CA
1361   PAULSON                                          MARY               HOUSTON               TX
1362   PAVILIONS                                                           BOISE                 ID
1363   PAVILIONS PLACE                                                     BOISE                 ID
1364   PAWOL                                            RICHARD            KEASBEY               NJ
1365   PAY LESS SUPER MARKETS                                              CINCINNATI            OH
1366   PAYNE                                            MICHAEL            NEWPORT BEACH         CA
1367   PAZMINO                                          DANIEL             NEW YORK              NY
1368   PAZMINO                                          JORGE              NEW YORK              NY
1369   PEABODY                                          MARIA              SOUTH DARTMOUTH       MA
1370   PEABODY                                          THOMAS             S DARTMOUTH           MA
1371   PEACOCK                                          VIRGINIA           HUNTINGTON BEACH      CA
1372   PEARSON                                          ERICA              FARGO                 ND
1373   PECHKIS                                          BRIAN              STROUDSBURG           PA
1374   PENDO                                            JOANNE             WYANDOTTE             MI
1375   PENROD                                           JONATHAN           CROWN POINT           IN
1376   PENTA                                            LISA               PAWTUCKET             RI
1377   PEPLOE                                           AMANDA             POULSBO               WA
1378   PERALEZ                                          IRMA               FRISCO                TX
1379   PEREVICH                                         MARYANN            SPENCERPORT           NY
1380   PEREZ                                            FLAUBERT           LAWRENCE              MA
1381   PEREZ RODRIGUEZ                                  ZORAIDA            TRUJILLO ALTO         PR
1382   PERKINS                                          CHIANA             TAYLORSVILLE          MS
1383   PERKINS                                          JAMES              LAKE CHARLES          LA
1384   PERKINS                                          STEVEN             HOMOSASSA             FL
1385   PERRY                                            BILLY              CLARKSVILLE           TN
1386   PERRY                                            KATHY              CLARKSVILLE           TN
1387   PETER                                            EMELDA             PLANO                 TX
1388   PETERS                                           ERIC               COLLINGSWOOD          NJ
1389   PETERS                                           JOHN               MIDDLEBORO            MA
1390   PETERSON                                         BEVERLY            HAVRE                 MT
1391   PETERSON                                         JAMES              AUSTIN                TX
1392   PETERSON                                         THOMAS             MOSS BEACH            CA
1393   PETRIZZO                                         FRANCES            SECAUCUS              NJ
1394   PETRIZZO                                         MARY               SECAUCUS              NJ
1395   PHELPS                                           LEE                TEMPLE TERRACE        FL
1396   PHILLIPS                                         CARA               DALLAS                TX
1397   PHILLIPS                                         ELIZABETH          VENICE                FL
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                                 Business/Last Name                              First Name                 City        State/Country
1398   PHILLIPS                                                               GWENDOLYN       UNIONTOWN            AL
1399   PHILLIPS                                                               SUSAN           WOODBRIDGE           VA
1400   PHIPPS                                                                 DONALD          REMUS                MI
1401   PICCARELLI                                                             MARIANNA        SAN DIEGO            CA
1402   PICK 'N SAVE                                                                           CINCINNATI           OH
1403   PIENTKA                                                                NICHOLE         PALATINE             IL
1404   PILSHAW                                                                DEBORAH         WEATHERLY            PA
1405   PILSHAW                                                                PETER           WEATHERLY            PA
1406   PINKLETON                                                              ELIZABETH       WINCHESTER           TN
1407   PINLEY                                                                 ALPHA           PAULS VALLEY         OK
1408   PIPPEN                                                                 TOMMY           LAS CRUCES           NM
1409   PITTS                                                                  GWENDOLYN       SELMA                AL
1410   PLUMBERS’ WELFARE FUND, LOCAL 130, U.A.                                                CHICAGO              IL
1411   POINDEXTER                                                             PIERRE          CHICAGO              IL
1412   POLLICH                                                                ANNELIESE       TRENTON              NJ
1413   POOLER                                                                 IVAN            WASILLA              AK
1414   POOLER                                                                 PATRICIA        WASILLA              AK
1415   PORRO CARVALHAR                                                        ANDRES          IRVINE               CA
1416   PORTER                                                                 CAROL           TICONDEROGA          NY
1417   PORTER                                                                 GRACE           AUSTIN               TX
1418   POTTS                                                                  MARGARET        RICHMOND             KY
1419   PRABHUNE                                                               AKANKSHA        PUNE                 INDIA
1420   PRADO GONZALEZ                                                         DIMNA           CHULA VISTA          CA
1421   PRAH                                                                   DAVID           WESTFIELD            NC
1422   PRAH                                                                   WINNIE          WESTFIELD            NC
1423   PREJEAN                                                                CHARLOTTE       THIBODAUX            LA
1424   PREJEAN                                                                RUSSELL         THIBODAUX            LA
1425   PRESTON                                                                JESSICA         SEATTLE              WA
1426   PRICE                                                                  BRENDAN         BIRMINGHAM           AL
1427   PRICE                                                                  LANCE           ORLANDO              FL
1428   PRICE                                                                  LORA            ROSALIA              WA
1429   PRIME GARDEN CITY MEDICAL GROUP, INC.                                                  GARDEN CITY          MI
1430   PRIME HEALTHCARE ANAHEIM, LLC                                                          ANAHEIM              CA
1431   PRIME HEALTHCARE BLUE SPRINGS, LLC                                                     BLUE SPRINGS         MO
1432   PRIME HEALTHCARE CENTINELA, LLC                                                        INGLEWOOD            CA
1433   PRIME HEALTHCARE FOUNDATION - COSHOCTON, LLC                                           COSHOCTON            OH
1434   PRIME HEALTHCARE FOUNDATION - SOUTHERN REGIONAL, LLC                                   RIVERDALE            GA
1435   PRIME HEALTHCARE FOUNDATION, INC.                                                      ONTARIO              CA
1436   PRIME HEALTHCARE HUNTINGTON BEACH, LLC                                                 HUNTINGTON BEACH     CA
1437   PRIME HEALTHCARE KANSAS CITY - HOME HEALTH CARE SERVICES, LLC                          BLUE SPRINGS         MO
1438   PRIME HEALTHCARE KANSAS CITY - PHYSICIAN SERVICES, LLC (SOUTH KANSAS                   KANSAS CITY          MO
       SURGICENTER)
1439   PRIME HEALTHCARE KANSAS CITY - PHYSICIAN SERVICES, LLC (ST. JOSEPH                     KANSAS CITY          MO
       MEDICAL GROUP AND ST. MARY'S MEDICAL GROUP)
1440   PRIME HEALTHCARE LA PALMA, LLC                                                         LA PALMA             CA
1441   PRIME HEALTHCARE MANAGEMENT, INC.                                                      ONTARIO              CA
1442   PRIME HEALTHCARE PARADISE VALLEY, LLC                                                  NATIONAL CITY        CA
1443   PRIME HEALTHCARE PHYSICIANS SERVICES - PROVIDENCE, INC. DBA                            KANSAS CITY          KS
       PROVIDENCE MEDICAL GROUP
1444   PRIME HEALTHCARE SERVICES - ENCINO HOSPITAL, LLC                                       ENCINO               CA
1445   PRIME HEALTHCARE SERVICES - GADSDEN PHYSICIAN MANAGEMENT, LLC                          GADSDEN              AL
1446   PRIME HEALTHCARE SERVICES - GADSDEN, LLC                                               GADSDEN              AL
1447   PRIME HEALTHCARE SERVICES - GARDEN CITY, LLC                                           GARDEN               MI
1448   PRIME HEALTHCARE SERVICES - GARDEN GROVE, LLC                                          GARDEN GROVE         CA
1449   PRIME HEALTHCARE SERVICES - KANSAS CITY, LLC                                           KANSAS CITY          MO
1450   PRIME HEALTHCARE SERVICES - LANDMARK, LLC                                              WOONSOCKET           RI
1451   PRIME HEALTHCARE SERVICES - LANDMARK, LLC                                              NORTH SMITHFIELD     RI
1452   PRIME HEALTHCARE SERVICES - LEHIGH ACRES, LLC                                          LEHIGH ACRES         FL
1453   PRIME HEALTHCARE SERVICES - LEHIGH PHYSICIANS MANAGEMENT, LLC                          LEHIGH ACRES         FL
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1454   PRIME HEALTHCARE SERVICES - LOWER BUCKS LLC                                        BRISTOL            PA
1455   PRIME HEALTHCARE SERVICES - MESQUITE, LLC                                          MESQUITE           TX
1456   PRIME HEALTHCARE SERVICES - MONROE, LLC                                            BLOOMINGTON        IN
1457   PRIME HEALTHCARE SERVICES - MONTCLAIR, LLC                                         MONTCLAIR          CA
1458   PRIME HEALTHCARE SERVICES - PAMPA, LLC                                             PAMPA              TX
1459   PRIME HEALTHCARE SERVICES - PORT HURON                                             PORT HURON         MI
1460   PRIME HEALTHCARE SERVICES - PROVIDENCE, LLC                                        KANSAS CITY        KS
1461   PRIME HEALTHCARE SERVICES - RENO, LLC                                              RENO               NV
1462   PRIME HEALTHCARE SERVICES - ROXBOROUGH, LLC                                        PHILADELPHIA       PA
1463   PRIME HEALTHCARE SERVICES - SAINT CLARE'S LLC                                      BOONTON            NJ
1464   PRIME HEALTHCARE SERVICES - SAINT CLARE'S LLC                                      DENVILLE           NJ
1465   PRIME HEALTHCARE SERVICES - SAINT CLARE'S LLC                                      DOVER              NJ
1466   PRIME HEALTHCARE SERVICES - SAINT CLARE'S LLC                                      SUSSEX             NJ
1467   PRIME HEALTHCARE SERVICES - SAINT JOHN LEAVENWORTH, LLC                            LEAVENWORTH        KS
1468   PRIME HEALTHCARE SERVICES - SAN DIMAS, LLC                                         SAN DIMAS          CA
1469   PRIME HEALTHCARE SERVICES - SHASTA, LLC                                            REDDING            CA
1470   PRIME HEALTHCARE SERVICES - SHERMAN OAKS, LLC                                      SHERMAN OAKS       CA
1471   PRIME HEALTHCARE SERVICES - ST. FRANCIS, LLC                                       LYNWOOD            CA
1472   PRIME HEALTHCARE SERVICES - ST. MARY'S PASSAIC, LLC                                PASSAIC            NJ
1473   PRIME HEALTHCARE SERVICES - ST. MICHAEL'S, LLC                                     NORRITON           PA
1474   PRIME HEALTHCARE SERVICES - SUBURBAN HOSPITAL, LLC                                 NORRITON           PA
1475   PRIME HEALTHCARE SERVICES INC                                                      ONTARIO            CA
1476   PRIME HOSPITALITY, LLC                                                             VICTORVILLE        CA
1477   PROVIDENCE PLACE, INC.                                                             KANSAS CITY        KS
1478   PRUNTY                                                            TERESA           MAPLE GROVE        MN
1479   PRUTZMAN                                                          HEATHER          OCEANSIDE          CA
1480   PUBLIX SUPER MARKETS, INC. AND PUBLIX SUPER MARKETS, INC. GROUP                    LAKELAND           FL
       HEALTH BENEFIT PLAN
1481   PUGLIESE                                                          LOU              CISCO              TX
1482   PUHALA                                                            DARYN            ORWIGSBURG         PA
1483   PULIDO                                                            GLORIA           SAN ANTONIO        TX
1484   QFC                                                                                CINCINNATI         OH
1485   QUEEN                                                             GERLADINE        LIMESTONE          TN
1486   QUERCIOLI                                                         LISA             LOS ANGELES        CA
1487   QUINLAN                                                           KATHLEEN         AGOURA HILLS       CA
1488   RABON                                                             MARY             TONGANOXIE         KS
1489   RAD                                                               AHMAD            SALINE             MI
1490   RADEK                                                             SHARON           GURNEE             IL
1491   RAGBIR                                                            BRANDON          SEATTLE            WA
1492   RAINES                                                            CYNTHIA          KNOXVILLE          TN
1493   RAINS                                                             KARA             BOSSIER CITY       LA
1494   RALPH                                                             MICHELLE         EAGLE POINT        OR
1495   RALPHS                                                                             CINCINNATI         OH
1496   RALPHS GROCERY COMPANY                                                             CINCINNATI         OH
1497   RAMALINGAM                                                        OBULIRAJ         OLYMPIA            WA
1498   RAMBO                                                             MARY             CHESAPEAKE CITY    MD
1499   RAMEY                                                             DEON             AUSTELL            GA
1500   RAMEY                                                             VICTORIA         AUSTELL            GA
1501   RAMIREZ                                                           FRANCISCO        UNION CITY         CA
1502   RANDALL                                                           TOM              ARROYO GRANDE      CA
1503   RANDALL'S                                                                          BOISE              ID
1504   RANDALL'S FOOD & DRUGS LP                                                          BOISE              ID
1505   RAPPE                                                             DONNA            ODENTON            MD
1506   RARDIN                                                            JANET            N RICHLAND HILLS   TX
1507   RATNER                                                            ERICA            SEATTLE            WA
1508   RAUTIOLA                                                          DAVIN            PACIFICA           CA
1509   RAY                                                               CAREN            HAYWARD            CA
1510   RAYBOURN                                                          RUSSELL          JOSEPHINE          TX
1511   RAYNOR                                                            KATHRYN          STEVENS            PA
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1512   REDD                                            DAVID             GRANTS PASS        OR
1513   REDDY DEVELOPMENT LLC                                             SCOTTSDALE         AZ
1514   REGIONALCARE HOSPITAL PARTNERS HOLDINGS                           BRENTWOOD          TN
1515   REGIONALCARE HOSPITAL PARTNERS, INC.                              BRENTWOOD          TN
1516   REHM                                            JUDY              ORRVILLE           OH
1517   REIGLE                                          WILLIAM           ICKESBURG          PA
1518   REILLY                                          ESTATE OF MARY    DREXEL HILL        PA
1519   REVERS                                          CHERI             ROSEVILLE          MI
1520   REYNOLDS                                        CLAUDINE          BIRMINGHAM         AL
1521   RHODEN                                          JAMES             GEORGETOWN         IL
1522   RHODES                                          KRYSTINA          LITTLE ROCK        AR
1523   RIAL                                            MICHAEL           CEDAR SPRINGS      MI
1524   RIBE                                            CALIANDRA         CHULA VISTA        CA
1525   RICE                                            DAVID             VOLGA              SD
1526   RICE                                            LAURA             VOLGA              SD
1527   RICE                                            LYNN              CHICO              CA
1528   RICHARD                                         ANDREW            LAFAYETTE          LA
1529   RICHARDS                                        CAROLYN           SANDY              UT
1530   RIDDLE                                          HAZEL             MADISONVILLE       KY
1531   RILEY                                           BLANCHE           CAMDEN             SC
1532   RINAUDO                                         ANTONINO          HAZLET TOWNSHIP    NJ
1533   RINDFUSZ                                        DEENA             FLOWERY BRANCH     GA
1534   RINDFUSZ                                        JOHN              FLOWERY BRANCH     GA
1535   RINSET                                          LINDA             FAIR OAKS          CA
1536   RIST                                            CARA              BLOOMINGTON        IL
1537   RIVER VALLEY PHYSICIANS, LLC                                      EAST LIVERPOOL     OH
1538   RIVERA                                          VALERY            TAMPA              FL
1539   RIVERS                                          LAUREN            BROOKLYN HEIGHTS   OH
1540   RML ARCHITECTS LLC                                                SIOUX CITY         IA
1541   ROACH                                           RHONDA            WEST DES MOINES    IA
1542   ROBBINS                                         MELISSA           GREENSBURG         IN
1543   ROBERT F. KENNEDY MEDICAL CENTER                                  DALY CITY          CA
1544   ROBERT F. KENNEDY MEDICAL CENTER FOUNDATION                       DALY CITY          CA
1545   ROBERTS                                         ADAM              RESTON             VA
1546   ROBERTS                                         CARLA MARIE       JEMISON            AL
1547   ROBINSON                                        FAYE              PORTLAND           OR
1548   ROBINSON                                        MEGAN             ROYERSFORD         PA
1549   ROBLES                                          YVONNE            VALENCIA           CA
1550   ROCKHOLD                                        CHRISTINA         MANHATTAN          KS
1551   ROCKWELL                                        ANITA JO          TAMPA              FL
1552   RODELO                                          LOPE              OREGON             WI
1553   RODENHISER                                      JOHN              RACINE             WI
1554   RODRIGUEZ                                       CARMEN            LOS ANGELES        CA
1555   RODRIGUEZ                                       SUSANA            MIAMI              FL
1556   ROESSLE                                         JAMES             HAZLET             NJ
1557   ROESSLE                                         SHARON            HAZLET             NJ
1558   ROMAN                                           AUSTIN            MANASSAS           VA
1559   ROMERO                                          CATHERINE         SANTA BARBARA      CA
1560   ROPP                                            ESTATE OF MARIE   FOSTORIA           OH
1561   ROSARIO                                         SUE-LING          FORT LAUDERDALE    FL
1562   ROSE                                            CAROL             CHERRY HILL        NJ
1563   ROSEN                                           HELEN             BRONX              NY
1564   ROSS                                            CAPRICIA          MANCHESTER         NH
1565   ROSSI                                           JULIE             TABERNACLE         NJ
1566   ROTH                                            DAVID             FAIRLAND           IN
1567   ROTLISBERGER                                    JEFFREY           RENO               NV
1568   ROTLISBERGER                                    LYNN              RENO               NV
1569   ROUNDY'S INC.                                                     CINCINNATI         OH
1570   ROWE                                            NANCY             WILLIAMSBURG       KY
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1571   RUEDIN                                           MARY             ALTON             IL
1572   RUFER                                            DI ANN           HIGHLAND          IL
1573   RUFER                                            GARY             HIGHLAND          IL
1574   RUIZ TORRES                                      VERONICA         COMPTON           CA
1575   RULER FOODS                                                       CINCINNATI        OH
1576   RUMBECK                                          BRET             BOISE             ID
1577   RUPPERT                                          CAROL            MOUNT PROSPECT    IL
1578   RUPPERT                                          JOAN             MT PROSPECT       IL
1579   RUSNOCK                                          KARL             CHANDLER          AZ
1580   RUSSELL                                          BEVERLY          ALBIA             IA
1581   RUSSELL                                          MICHAEL          CLOVIS            NM
1582   RUSSO                                            PETER            EAST WILLISTON    NY
1583   RYDER                                            NICHOLAS         STEILACOOM        WA
1584   RYE                                              PAMELA           BROOKHAVEN        GA
1585   SABINI                                           PATRICIA         NEW YORK          NY
1586   SADLER                                           GRACIE           CREWE             VA
1587   SAFEWAY                                                           BOISE             ID
1588   SAFEWAY FOOD & DRUG                                               BOISE             ID
1589   SAFEWAY INC.                                                      BOISE             ID
1590   SAINT MARY'S MEDICAL GROUP, INC.                                  RENO              NV
1591   SALM                                             VANESSA          FLORIANOPOLIS     BRAZIL
1592   SALMONS                                          KATHRYN          MILTON            WV
1593   SALVAS                                           KEITH            CAMARILLO         CA
1594   SALZMAN                                          DENISE           ROCKLIN           CA
1595   SAMI                                             HARI             MORENO VALLEY     CA
1596   SAMUEL                                           MARTIN           LOS ANGELES       CA
1597   SANCHEZ                                          ANITA            LOVELAND          CO
1598   SANCHEZ                                          LINDA            SEATTLE           WA
1599   SANDERS                                          EDWARD           JACKSON           MI
1600   SANDERS                                          PATRICIA         JACKSON           MI
1601   SANTINI                                          NICOLE           NAPLES            FL
1602   SANTO                                            ALICE            TAYLOR            MI
1603   SASH                                             LINDA            ALBERT LEA        MN
1604   SASH                                             RICHARD          ALBERT LEA        MN
1605   SASSOWER                                         EDWARD           SAGAPONACK        NY
1606   SATAKE                                           KRISTINE         HONOLULU          HI
1607   SATKA                                            STEPHAN          MISSION           TX
1608   SATO                                             JONATHAN         CAMPBELL          CA
1609   SAUNDERS                                         MELISSA          STURGEON BAY      WI
1610   SAYERS                                           SHIRLEY          CARMICHAEL        CA
1611   SCANLON                                          PATRICIA         HINCKLEY          OH
1612   SCHEETZ                                          BRADLEY          GLOUCESTER        MA
1613   SCHIAVO                                          JOHN             PORTLAND          OR
1614   SCHIMMEL                                         ASHTON           PEACHTREE COR     GA
1615   SCHMITT                                          MICHAEL          CEDAR RAPIDS      IA
1616   SCHNEIDER                                        BRIAN            HATTIESBURG       MS
1617   SCHNEIDER                                        DONNA            EASTPOINTE        MI
1618   SCHOEN                                           SALLY            CORONA DEL MAR    CA
1619   SCHOLINK                                         ANNA             MONTEREY          CA
1620   SCHOLINK                                         SHONNA           MONTEREY          CA
1621   SCHULDT                                          DOUGLAS          KALAMAZOO         MI
1622   SCHUMACHER                                       SUSAN            WEST CHICAGO      IL
1623   SCHWEITZER                                       ARTHUR           NEW YORK          NY
1624   SCLAFANI                                         NANCY            NORRIDGE          IL
1625   SCOTT                                            JOAN             SUMMERVILLE       SC
1626   SCOTT                                            MICHAEL          HOUSTON           TX
1627   SCOTT                                            NANCY            NORTH BRUNSWICK   NJ
1628   SCOTT                                            SHIRLEY          GREENVILLE        FL
1629   SCRIBNER                                         COLLEEN          DEMING            NM
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1630   SEAY                                                  ELMER            RICHMOND         VA
1631   SEAY                                                  SHIRLEY          RICHMOND         VA
1632   SEBASTIANELLI                                         MARK             WOLCOTT          CT
1633   SEGALLE                                               KATHRYN          ATASCADERO       CA
1634   SEIU LOCAL 1 & PARTICIPATING EMPLOYERS HEALTH TRUST                    CHICAGO          IL
1635   SELLERS                                               CANDACE          MOBILE           AL
1636   SELLERS                                               JOSEPH           MOBILE           AL
1637   SELLERS                                               SHARON           MOBILE           AL
1638   SELS                                                  ALICE            PLEASANTVILLE    IA
1639   SELSTAD                                               LISA             MINNEAPOLIS      MN
1640   SERBANTEZ                                             MARIA            FREEPORT         TX
1641   SETON COASTSIDE                                                        DALY CITY        CA
1642   SETON MEDICAL CENTER                                                   DALY CITY        CA
1643   SETON MEDICAL CENTER FOUNDATION                                        DALY CITY        CA
1644   SEXTON                                                DAVID            SAINT LOUIS      MO
1645   SHABICA & ASSOCIATES INC.                                              NORTHFIELD       IL
1646   SHAFFNER                                              ANNE             WALTHAM          MA
1647   SHASTA REGIONAL MEDICAL GROUP, INC.                                    REDDING          CA
1648   SHAW'S SUPERMARKETS, INC.                                              BOISE            ID
1649   SHEET METAL WORKERS LOCAL 73 WELFARE FUND                              HILLSIDE         IL
1650   SHELBURNE                                             WEILAND          BARDSTOWN        KY
1651   SHELLEY                                               CONSTANCE        SCOTTSBLUFF      NE
1652   SHERWOOD                                              JOHN             ALEXANDRIA       AL
1653   SHERWOOD                                              ROBERT           ALEXANDRIA       AL
1654   SHEVCHENKO                                            DMYTRO           KIRKLAND         WA
1655   SHIRLEY                                               AMANDA           GATESVILLE       TX
1656   SHORT                                                 DIAN             URBANDALE        IA
1657   SHUBEL                                                LAURA            NEWPORT          RI
1658   SHULTZ                                                PATRICK          CORPUS CHRISTI   TX
1659   SHUMUNOV                                              SHUGMI           SOUTHFIELD       MI
1660   SIBLEY                                                CAROL            OAKWOOD          TX
1661   SIBLEY SR                                             CHARLES          OAKWOOD          TX
1662   SIEGENTHALER                                          ELLEN            YUKON            OK
1663   SIEMS                                                 CINDY            MESA             AZ
1664   SIGMAN                                                MICHAEL          GERMANTOWN       TN
1665   SIGUIDO                                               CHRISTINE        PETALUMA         CA
1666   SILLAPACHAI                                           CORINNE          HONOLULU         HI
1667   SILVA                                                 JOSE             PORTERVILLE      CA
1668   SILVER                                                MANDIE           MYRTLE BEACH     SC
1669   SIMECEK                                               PATRICIA         TEMPLE           TX
1670   SIMON                                                 ERIKA            CHESAPEAKE       VA
1671   SIMON                                                 JOHN             TINLEY PARK      IL
1672   SIMON                                                 JUNE             BALDWIN CITY     KS
1673   SIMON DAVID                                                            BOISE            ID
1674   SIMPKINS                                              PHILIP           DALLAS           TX
1675   SIMPSON                                               KATHLEEN         ALBANY           NY
1676   SIMPSON                                               MICHAEL          ALBERTVILLE      AL
1677   SIMRELL                                               STEVEN           NEWBERN          TN
1678   SINER                                                 DANNY            HOUSTON          TX
1679   SINGH                                                 DARSHAN          ELK GROVE        CA
1680   SINGH                                                 GAGANDEEP        MANTECA          CA
1681   SINGIAN                                               ALICE            WALNUT           CA
1682   SINGIAN                                               EMMANUEL         WALNUT           CA
1683   SINGIAN                                               JOSHUA           WALNUT           CA
1684   SIRI                                                  WALTER           CARLSTADT        NJ
1685   SIRON                                                 BOBBY            CANYON COUNTRY   CA
1686   SIVALSKI                                              STEVEN           MIDDLEBURG       FL
1687   SIVLEY                                                JOHN             HELENA           AL
1688   SIZER                                                 DAVID            RICHARDSON       TX
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1689   SKALETZKY                                       GERALD           OSHTEMO          MI
1690   SKINNER                                         ELIZABETH        SAN DIEGO        CA
1691   SKINNER                                         JAMES            TINLEY PARK      IL
1692   SKINNER                                         LORENE           TINLEY PARK      IL
1693   SKOUMAL                                         DONNA            LISLE            IL
1694   SKOUMAL JR                                      WILLIAM          LISLE            IL
1695   SKROPKA                                         HOLLY            IRON CITY        TN
1696   SLIFKA                                          MYRA             MADISON          AL
1697   SLOCOMBE                                        DORIS            FAIRFIELD        IA
1698   SLUPE                                           JAMES            LOPEZ ISLAND     WA
1699   SMALL                                           STEPHEN          KANSAS CITY      MO
1700   SMITH                                           AARON            CLAWSON          MI
1701   SMITH                                           ALICE            AMERICUS         GA
1702   SMITH                                           BARBARA          FLORENCE         AL
1703   SMITH                                           CHARLES          AMERICUS         GA
1704   SMITH                                           CHARLOTTE        CHICAGO          IL
1705   SMITH                                           CHERYLL          UNION GAP        WA
1706   SMITH                                           DEBORAH          NORWALK          IA
1707   SMITH                                           JULIE            SALEM            OR
1708   SMITH                                           LETITIA          HASTINGS         MI
1709   SMITH                                           MARGIE           TEXARKANA        AR
1710   SMITH                                           MARY             HUTTO            TX
1711   SMITH                                           MILDRED          WASHINGTON       PA
1712   SMITH                                           MORGAN           EXPORT           PA
1713   SMITH                                           REGINA           SIOUX CITY       IA
1714   SMITH                                           SAMMIE           FLORENCE         AL
1715   SMITH                                           SARAH            CLAWSON          MI
1716   SMITH                                           SARAHANN         SAINT LOUIS      MO
1717   SMITH                                           SCOTT            COON RAPIDS      MN
1718   SMITH                                           STANTON          HUTTO            TX
1719   SMITH                                           TERESA           TABOR            IA
1720   SMITH SR                                        TOMMIE           CHICAGO          IL
1721   SMITH'S                                                          CINCINNATI       OH
1722   SMITH'S FOOD & DRUG CENTERS, INC.                                CINCINNATI       OH
1723   SNIDEI-THOMPSON                                 LAIS             LOCKPORT         NY
1724   SNOW                                            RICHARD          BANGOR           ME
1725   SNYDER                                          JASON            PHILADELPHIA     PA
1726   SNYDER                                          TERRY            JOHNSON CITY     NY
1727   SOCK                                            RAYMOND          GENOA            NE
1728   SOCK                                            SHARON           GENOA            NE
1729   SODERGREN                                       DANIEL           LYNDEN           WA
1730   SONIUS                                          ROGER            NICHOLSON        PA
1731   SORRELL                                         PATRICIA         VACHERIE         LA
1732   SOTO                                            FRANK            COLLEGEDALE      TN
1733   SOUCY                                           GINGER           WATERTOWN        MA
1734   SOULE                                           ANGELA           VALLEY GRANDE    AL
1735   SOUTHEAST ALABAMA MEDICAL CENTER                                 DOTHAN           AL
1736   SPANGLER                                        ELIZABETH        SARASOTA         FL
1737   SPEARS                                          BESSIE           NEW BRAUNFELS    TX
1738   SPENCER                                         JUNE             OSKALOOSA        IA
1739   SPIEKER                                         MARK             LITTLETON        CO
1740   SPIKER                                          ELIZABETH        WETMORE          KS
1741   SPIKER                                          STEVEN           WETMORE          KS
1742   SPORTS MEDICAL MANAGEMENT, INC.                                  DALY CITY        CA
1743   SRIKANT                                         SAGAR            CALGARY          CANADA
1744   SRISHTI                                         FNU              NEW YORK         NY
1745   ST. FRANCIS CENTER OF LYNWOOD FOUNDATION                         DALY CITY        CA
1746   ST. FRANCIS MEDICAL CENTER                                       DALY CITY        CA
1747   ST. FRANCIS MEDICAL CENTER FOUNDATION                            DALY CITY        CA
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1748   ST. FRANCIS PHYSICIAN PRACTICES, LLC HEALTH BENEFITS PLAN                    BRENTWOOD            TN
1749   ST. LOUISE REGIONAL HOSPITAL                                                 DALY CITY            CA
1750   ST. LOUISE REGIONAL HOSPITAL FOUNDATION                                      DALY CITY            CA
1751   ST. MARY'S OUTPATIENT SURGERY CENTER AT GALENA, LLC                          RENO                 NV
1752   ST. MARY'S SURGICAL CENTER, LLC                                              BLUE SPRINGS         MO
1753   ST. VINCENT DIALYSIS CENTER                                                  DALY CITY            CA
1754   ST. VINCENT FOUNDATION                                                       DALY CITY            CA
1755   ST. VINCENT MEDICAL CENTER                                                   DALY CITY            CA
1756   STALEY                                                      JOSEPH           MYERSTOWN            PA
1757   STALEY                                                      LOUISE           MYERSTOWN            PA
1758   STANFIELD                                                   SHANON           AUSTIN               TX
1759   STANILLA                                                    NATALIE          LEBANON              PA
1760   STANSBERRY                                                  JUDITH           KNOXVILLE            TN
1761   STAR MARKET                                                                  BOISE                ID
1762   STARASINICH                                                 BETH             JOLIET               IL
1763   STATEN ISLAND RAPID TRANSIT OPERATING AUTHORITY                              STATEN ISLAND        NY
1764   STECHER                                                     DAVID            ATCHISON             KS
1765   STELMAS                                                     CAROL            FORT WORTH           TX
1766   STEPANOWICZ                                                 THOMAS           MARCY                NY
1767   STEVENS                                                     MICHELLE         HURLOCK              MD
1768   STEVENS                                                     SAGE             DREXEL HILL          PA
1769   STEVERS                                                     CHRISTOPHER      PEARISBURG           VA
1770   STOCKER                                                     DANNY            RICHTON PARK         IL
1771   STOCKER                                                     JANE             RICHTON PARK         IL
1772   STOCKS                                                      EDWARD           MEQUON               WI
1773   STOLTZ                                                      WALTER           LANCASTER            PA
1774   STONE                                                       LINDSEY          TACOMA               WA
1775   STORVICK                                                    DARRELL          TUKWILA              WA
1776   STORVICK                                                    DORA             TUKWILA              WA
1777   STOUFFER                                                    TERRI            HARRISON CITY        PA
1778   STOVER                                                      RONALD           NASHVILLE            TN
1779   STRAM                                                       SASHA            CHICO                CA
1780   STROBERG                                                    JANET            HUTCHINSON           KS
1781   STROBERG                                                    THOMAS           HUTCHINSON           KS
1782   STROEH                                                      BRADLEY          WEST CHESTER         OH
1783   STROM                                                       JOSEPH           TELFORD              PA
1784   STRONG                                                      EMILY            LEXINGTON            VA
1785   STUBBEMAN                                                   NICHOLE          EAST BREWTON         AL
1786   SUAREZ                                                      SILVIA           MIAMI                FL
1787   SUBURBAN MEDICAL GROUP, LLC                                                  EAST NORRITON        PA
1788   SUDOL                                                       ESTATE OF LULA   BERLIN               CT
1789   SUE                                                         SUSAN            SAN DIEGO            CA
1790   SUEN                                                        LEEANN           CULVER CITY          CA
1791   SULVITSKY                                                   TATYANA          CHICAGO              IL
1792   SUMMERS                                                     ASHLEY           SCOTTSDALE           AZ
1793   SUN                                                         OU               VALLEY VILLAGE       CA
1794   SUPERVALU GROUP HEALTH PLAN                                                  PROVIDENCE           RI
1795   SUPERVALU INC.                                                               PROVIDENCE           RI
1796   SUPERVALU RETIREE BENEFIT PLAN                                               PROVIDENCE           RI
1797   SURIANO                                                     FRANCIS          ATLANTIC HIGHLANDS   NJ
1798   SURIANO                                                     MARY             ATLANTIC HIGHLANDS   NJ
1799   SUZUKI                                                      TADASHI          SACRAMENTO           CA
1800   SWEAT                                                       GWENDOLYN        LADSON               SC
1801   SWELEY                                                      JOSHUA           OMAHA                NE
1802   SWENSSON                                                    SHANNON          PASO ROBLES          CA
1803   SWETLIK                                                     THEODORE         FOND DU LAC          WI
1804   SYKES                                                       CHARLES          ROSWELL              NM
1805   SYKES                                                       POLLY            ROSWELL              NM
1806   TABOR                                                       MARY             LOWELL               MA
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1807   TAKAHASHI                                                          LORRIN              KANEOHE             HI
1808   TALIERCIO                                                          MICHAEL             NORWALK             CT
1809   TANAKA                                                             MAKI                FORT WORTH          TX
1810   TANDESKI                                                           KATHLEEN            CHICO               CA
1811   TANIMOTO                                                           MAILE               PEARL CITY          HI
1812   TARABHUDI                                                          BENJAMART           MILLSBORO           DE
1813   TARLE                                                              GREG                CANAL FULTON        OH
1814   TATE                                                               EDITH               MAYNARD             AR
1815   TATE                                                               JANE                ROSWELL             NM
1816   TATE                                                               ROSELIE             LAS VEGAS           NV
1817   TATE II                                                            ROBERT              AUSTIN              TX
1818   TAYLOR                                                             ALAN                LEBANON             PA
1819   TAYLOR                                                             ANNA                EVERETT             MA
1820   TAYLOR                                                             CLARICE             TIGARD              OR
1821   TEARLE                                                             CHRISTINE           SAMSON              AL
1822   TEETZEN                                                            DANELLE             WICHITA             KS
1823   TEICHMAN                                                           BENJAMIN            LAFAYETTE           CA
1824   TEKO PIPE TESTING                                                                      NESS CITY           KS
1825   TENAGLIA                                                           LUIZ                SEATTLE             WA
1826   TENNESSEE THERAPY & BALANCE CENTER, LLC                                                COOKEVILLE          TN
1827   TERRY                                                              JANET               MURRIETA            CA
1828   TESINSKY                                                           RUTH                CHICAGO             IL
1829   THE BOARD OF PENSIONS OF THE PRESBYTERIAN CHURCH (U.S.A.)                              PHILADELPHIA        PA
1830   THE BOEING COMPANY                                                                     CHICAGO             IL
1831   THE BURLINGTON NORTHERN SANTA FE EMPLOYEE BENEFITS COMMITTEE FOR                       FORT WORTH          TX
       THE BURLINGTON NORTHERN SANTA FE CORPORATION GROUP BENEFITS PLAN
1832   THE CARPENTERS AND JOINERS WELFARE FUND                                                BLOOMINGTON         MN
1833   THE EMPLOYEE BENEFIT PLANS COMMITTEE OF THE BOEING COMPANY                             CHICAGO             IL
1834   THE GENERAL BOARD OF PENSION AND HEALTH BENEFITS OF THE UNITED                         GLENVIEW            IL
       METHODIST CHURCH
1835   THE KROGER CO.                                                                         CINCINNATI          OH
1836   THE KROGER CO. HEALTH AND WELFARE BENEFIT PLAN                                         CINCINNATI          OH
1837   THE KROGER CO. OF MICHIGAN                                                             CINCINNATI          OH
1838   THE LAW OFFICES OF STEPHEN D. JUDGE                                                    SALEM               MA
1839   THE LAW OFFICES OF STEPHEN D. JUDGE                                                    LYNN                MA
1840   THE LOCAL NO. 1 HEALTH FUND                                                            DOWNERS GROVE       IL
1841   THE LONG ISLAND RAIL ROAD COMPANY                                                      JAMAICA             NY
1842   THE OHIO VALLEY HOME HEALTH SERVICES, INC.                                             EAST LIVERPOOL      OH
1843   THE SMALL ASSOCIATES                                                                   KANSAS CITY         MO
1844   THE VONS COMPANIES, INC.                                                               BOISE               ID
1845   THEDE                                                              ROBERT              LAS VEGAS           NV
1846   THIBODEAUX                                                         HOMER               CHURCH POINT        LA
1847   THOMA                                                              DORIS               SHERIDAN            WY
1848   THOMA                                                              KENNETH             SHERIDAN            WY
1849   THOMAS                                                             DOROTHY             TERRE HAUTE         IN
1850   THOMAS                                                             EDITH               SOUTH PORTLAND      ME
1851   THOMAS                                                             EDWARD              LOS ANGELES         CA
1852   THOMAS                                                             RITA                HOUSTON             TX
1853   TIGHE                                                              DARIA               SEATTLE             WA
1854   TIMMERMAN                                                          GENEVA              DAYTON              NV
1855   TIMMERMAN                                                          MICHAEL             DAYTON              NV
1856   TINNER                                                             LASHIRL             KANSAS CITY         MO
1857   TISDALE                                                            MARY                THOMPSONS STATION   TN
1858   TIVERON                                                            FRANCES             LAGUNA HILLS        CA
1859   TODD                                                               RUSSEL              WASHINGTON          UT
1860   TOLBERT WASHINGTON                                                 BARBARA             HURTSBORO           AL
1861   TOLEDO                                                             RUSLAN              NAPLES              FL
1862   TOM THUMB FOOD & DRUGS                                                                 BOISE               ID
1863   TOMSEN                                                             KATRINA             MINDEN              NE
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                              Business/Last Name           First Name              City    State/Country
1864   TORRES                                          JORGE            SAN YSIDRO        CA
1865   TOUCHETTE                                       EMELIA           KENWOOD           CA
1866   TRACTOR SUPPLY COMPANY                                           BRENTWOOD         TN
1867   TRACTOR SUPPLY COMPANY HEALTH & WELFARE PLAN                     BRENTWOOD         TN
1868   TRAN                                            LESA             BRANFORD          CT
1869   TRAN                                            NHUNG            MARINA            CA
1870   TRAVLOS                                         MEAGAN           RICHMOND          CA
1871   TREADWELL                                       ELISABETH        OJAI              CA
1872   TRENARY                                         BARBARA          INDEPENDENCE      MO
1873   TRIBIE                                          LYONETTE         BROOKLYN          NY
1874   TRIBOROUGH BRIDGE AND TUNNEL AUTHORITY                           NEW YORK          NY
1875   TROUTMAN                                        ANNA             BURKE             VA
1876   TRUAN                                           STEPHEN          KNOXVILLE         TN
1877   TSUE                                            DAVID            KANEOHE           HI
1878   TUCKER                                          DAVID            LAFAYETTE         AL
1879   TUNELL                                          BRIDGETTE        GAINES            MI
1880   TURNER                                          SHERRY           PINE MOUNTAIN     GA
1881   TUTTLE                                          CYNTHIA          ADKINS            TX
1882   TUTTLE                                          JAIMI            ELMHURST          IL
1883   TUTTLE                                          RYAN             ELMHURST          IL
1884   ULMER                                           SYLVIA           METAIRIE          LA
1885   ULRICH                                          WILLIAM          OJAI              CA
1886   UNDERWOOD                                       WILLIAM          BIRMINGHAM        AL
1887   UNFI HEALTH AND WELFARE PLAN                                     PROVIDENCE        RI
1888   UNIFIED GROCERS, INC.                                            PROVIDENCE        RI
1889   UNIFIED GROCERS, INC. GROUP WELFARE PLAN                         PROVIDENCE        RI
1890   UNIFIED GROCERS, INC. RETIREE MEDICAL PLAN                       PROVIDENCE        RI
1891   UNITED HOME HEALTH SERVICES, INC.                                GARDEN CITY       MI
1892   UNITED NATURAL FODDS EMPLOYEE BENEFIT PLAN                       PROVIDENCE        RI
1893   UNITED NATURAL FOODS, INC.                                       PROVIDENCE        RI
1894   VALLE                                           JOSE             CAMUY             PR
1895   VAN DER HOEVEN                                  INGE             BELLINGHAM        MA
1896   VAN DYNE                                        DAVID            KANSAS CITY       MO
1897   VANDENBERG                                      KATY             WAUWATOSA         WI
1898   VANHANDEL                                       NATALIE          SEYMOUR           WI
1899   VARELA                                          LETICIA          FREDERICKSBURG    VA
1900   VAUGHAN                                         BARBARA          MASONIC HOME      KY
1901   VEMURI                                          RAVIKIRAN        SUNNYVALE         CA
1902   VERITAS HEALTH SERVICES, INC.                                    CHINO             CA
1903   VERITY BUSINESS SERVICES                                         DALY CITY         CA
1904   VERITY HEALTH SYSTEM                                             REDWOOD CITY      CA
1905   VERITY HOLDINGS, LLC                                             DALY CITY         CA
1906   VERITY MEDICAL FOUNDATION                                        DALY CITY         CA
1907   VHOLDINGS MOB, LLC                                               DALY CITY         CA
1908   VICARI                                          SAMUEL           NEW BALTIMORE     MI
1909   VIGLIANTE                                       AMALIA           SANTA MONICA      CA
1910   VIGUERS                                         SCHOONER         SANTA CRUZ        CA
1911   VILELLE                                         MARTHA           RENO              NV
1912   VILLAR                                          MESHA            LAKE CITY         FL
1913   VISCONTI                                        BARBARA          GREENSBURG        PA
1914   VITEAUX                                         ANNE             HOUMA             LA
1915   VOCI                                            NICOLE           EAST FALMOUTH     MA
1916   VONS                                                             BOISE             ID
1917   VONS GROCERY COMPANY                                             BOISE             ID
1918   VORA                                            FIROZUDDIN       SAUSALITO         CA
1919   VUCKOVICH                                       STEVEN           FREEDOM           PA
1920   VULGAMOTT                                       MICHELLE         PLATTSMOUTH       NE
1921   WADE                                            BRITTANY         HOUSTON           TX
1922   WADENA AGENCY INC                                                MILTONA           MN
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                              Business/Last Name               First Name             City       State/Country
1923   WAGNER                                              DIANA            MIDDLETOWN          PA
1924   WAGNER                                              JONATHAN         CARMEL              IN
1925   WAID                                                ESTATE OF GARY   WICHITA FALLS       TX
1926   WALD                                                MELINDA          FARGO               ND
1927   WALGREEN CO. AND WALGREEN HEALTH AND WELFARE PLAN                    DEERFIELD           IL
1928   WALKER                                              BRENDA           PINSON              AL
1929   WALKER                                              ERIKA            DOWNERS GROVE       IL
1930   WALKER                                              GINA             HENDERSON           NV
1931   WALKER                                              PATRICK          UNIONTOWN           AL
1932   WALKER                                              VINA             ALMA                AR
1933   WALLACE                                             JESSICA          SAN JOSE            CA
1934   WALTERS                                             ANN              VALRICO             FL
1935   WALTERS                                             JERRY            BROOKSVILLE         FL
1936   WALTERS                                             PATRICIA         BROOKSVILLE         FL
1937   WALTERS                                             REBECCA          MOUNT DORA          FL
1938   WALTERS                                             SAMUEL           SATANTA             KS
1939   WANNER                                              EARL             ROCHESTER           MN
1940   WARD                                                CHELSEA          MOUNT HOLLY         NJ
1941   WARD                                                ELI              OTTUMWA             IA
1942   WARD                                                PAULINE          LONG BEACH          CA
1943   WARREN                                              CAROL            UNDERHILL           VT
1944   WARREN                                              GARY             UNDERHILL           VT
1945   WARREN                                              SEAN             FALLBROOK           CA
1946   WASHBURN                                            STEVEN           AUSTIN              TX
1947   WATKINS                                             KEVAN            VALRICO             FL
1948   WATSON                                              FRANCES          THOMPSONS STATION   TN
1949   WEBERG                                              LOWELL           DULUTH              MN
1950   WEBSTER                                             JENNIFER         LOS ANGELES         CA
1951   WEGENER                                             KATHLEEN         LAKESIDE            CA
1952   WEHMHOFF                                            RICHARD          BLOOMINGTON         MN
1953   WEIDMAN                                             MARY             AKRON               PA
1954   WELCH                                               MICHAEL          TELFORD             TN
1955   WELCH                                               NANCY            FARRAGUT            TN
1956   WELLNESS INC                                                         HUTCHINSON          KS
1957   WELLS                                               BETTY            AUBURN              CA
1958   WENTWORTH                                           HENRIETTA        HUTCHINSON          MN
1959   WENTZ                                               CHARLYN          SYKESVILLE          MD
1960   WENTZ                                               HARRY            SYKESVILLE          MD
1961   WERT                                                BARBARA          FORT COLLINS        CO
1962   WESSELS                                             MARCELLA         MOSCOW              ID
1963   WESSELS                                             WARREN           MOSCOW              ID
1964   WEST                                                ADRINETTE        SAVANNAH            GA
1965   WEST                                                CHESTER          LOUISVILLE          KY
1966   WEST                                                VERONICA         TUCSON              AZ
1967   WESTON III                                          WILLIAM          AUGUSTA             GA
1968   WHEELER                                             MANDY            COLUMBUS            OH
1969   WHIPPERMAN                                          DESIREE          TEMPLE CITY         CA
1970   WHISENANT                                           WILLIAM          ELLENTON            FL
1971   WHITE                                               ANDREIA          CHELSEA             AL
1972   WHITE                                               JUDITH           TINLEY PARK         IL
1973   WHITE                                               KAREN            EAST BETHEL         MN
1974   WHITE                                               NICHOLAS         CHELSEA             AL
1975   WHITE                                               REBECCA          VENTURA             CA
1976   WHITE                                               RITA             SOUTHSIDE           AL
1977   WHITE                                               THEODORE         EAST BETHEL         MN
1978   WHITEHOUSE                                          TIMOTHY          SALEM               OH
1979   WHITLATCH                                           JEFFREY          COSTA MESA          CA
1980   WHORTON                                             DENNIS           PUEBLO              CO
1981   WIENEKE                                             NANCY            OCALA               FL
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                                Business/Last Name          First Name               City    State/Country
1982   WIGGINS                                          BRENDEN          SANTA FE           NM
1983   WILBERG                                          BRADLEY          ROCKLEDGE          FL
1984   WILCOX                                           CHARLES          PENSACOLA          FL
1985   WILD WEST WELL SERVICE INC                                        NESS CITY          KS
1986   WILHELM                                          KATELYN          NAPERVILLE         IL
1987   WILKINSON                                        SUSAN            LOS OSOS           CA
1988   WILLIAMS                                         ANDREW           SAFFORD            AL
1989   WILLIAMS                                         CHARLA           BRASELTON          GA
1990   WILLIAMS                                         EMILY            TROY               AL
1991   WILLIAMS                                         EVELYN           SAFFORD            AL
1992   WILLIAMS                                         HEATHER          FORT HOOD          TX
1993   WILLIAMS                                         JOHN             BRASELTON          GA
1994   WILLIAMS                                         JOYCE            WATERLOO           IL
1995   WILLIAMS                                         KATHY            UNIONTOWN          AL
1996   WILLIAMS                                         LACON            JACKSONVILLE       FL
1997   WILLIAMS                                         LISA             JEFFERSON CITY     MO
1998   WILLIAMS                                         LUCILLE          COUNCIL BLUFFS     IA
1999   WILLIAMS                                         MARGARET         FORT BRAGG         CA
2000   WILLIAMS, JR.                                    EDDIE            UNIONTOWN          AL
2001   WILLIS                                           THOMAS           WADSWORTH          OH
2002   WILLLIAMS                                        SANABRIA         BIRMINGHAM         AL
2003   WILLS                                            GALEN            ARLINGTON          MN
2004   WILSHER                                          DONNA            LIVONIA            MI
2005   WILSON                                           CHARLES          PITTSBURG          TX
2006   WILSON                                           THOMAS           PORTLAND           OR
2007   WISNIEWSKI                                       GARY             DIAMOND BAR        CA
2008   WITHROW                                          BEVERLY          FRANKFORD          WV
2009   WITT LAW FIRM PC                                                  TUSTIN             CA
2010   WOBIG                                            AMANDA           VIRGINIA BCH       VA
2011   WOJCIK                                           PATRICIA         CHICAGO            IL
2012   WOLF                                             KENDRA           HOBBS              NM
2013   WOLFF                                            FRED             ORR                MN
2014   WOLLERT II                                       LARRY            DALLAS             TX
2015   WONG                                             DEREK            SAN LEANDRO        CA
2016   WONG                                             KALLIN           SAN LEANDRO        CA
2017   WONG                                             STANLEY          ROSLYN HEIGHTS     NY
2018   WOODARD                                          GERTRUDE         RAMONA             CA
2019   WOODS                                            LYDIA            LEHIGH ACRES       FL
2020   WOODS                                            TERESA           MOSELEY            VA
2021   WORSTER                                          ROYCENE          LEE                ME
2022   WORTZ                                            LARRY            ADRIAN             MI
2023   WRASSE                                           GEORGE           BAILEYVILLE        IL
2024   WRASSE                                           PAMELA           BAILEYVILLE        IL
2025   WRIGHT                                           BREANNA          HARRIMAN           TN
2026   WU                                               PO YEUNG         NEW BOSTON         TX
2027   WYATT                                            BONNIE           PUEBLO             CO
2028   WYSZYNSKI                                        JULIO            BROOKLYN           NY
2029   YEE PAULSON                                      CHRISTOPHER      ARLINGTON          VA
2030   YOUNG                                            ANNETTE          BERKLEY            MI
2031   YOUNG                                            CYNTHIA          ROCHESTER HILLS    MI
2032   YOUNG                                            JULIE            EDMOND             OK
2033   YOUNG                                            MARCIA           EDINA              MN
2034   YOUNG                                            VICKI            LOS ALAMITOS       CA
2035   ZAGAR                                            BEVERLY          BETHALTO           IL
2036   ZAPATA RODRIGUEZ                                 ESTEFANIA        OAKLAND            CA
2037   ZBUCHALSKI                                       LORRAINE         ROCKAWAY           NJ
2038   ZEBLEY                                           SHARON           FORT MYERS         FL
2039   ZENKER                                           ROBERT           ISSAQUAH           WA
2040   ZEWE                                             DEBORAH          ROCKLIN            CA
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                           Business/Last Name               First Name              City     State/Country
2041   ZHANG                                            CONNIE           CHAPEL HILL        NC
2042   ZHANG                                            YANPING          NORTHVILLE         MI
2043   ZHU                                              YAHUI            CHANTILLY          VA
2044   ZITOLI                                           PETER            COCONUT CREEK      FL
2045   ZOLLERS                                          ERICA            GROVES             TX
2046   ZOOK                                             TIAYEASE         SCHUYLKILL HAVEN   PA
2047   ZUCHNIARZ                                        IRENEUSZ         WAUCONDA           IL
2048   ZUCHNIARZ                                        SHERRI           WAUCONDA           IL
2049   ZUNIGA-SPINELLI                                  CHRISTINE        ACTON              MA
